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       EXHIBIT 1
                Case 20-10343-LSS                   Doc 1166           Filed 08/26/20             Page 2 of 217



O’Melveny & Myers LLP                T: +1 212 326 2000                                                        File Number:
Times Square Tower                   F: +1 212 326 2061                                                        0705810-00073
7 Times Square                       omm.com
New York, NY 10036-6537




                                                                                                               Tancred Schiavoni
July 31, 2020                                                                                                  D: +1 212 326 2267
                                                                                                               tschiavoni@omm.com
VIA FEDEX

David J. Molton, Esquire
BROWN RUDNICK LLP
Seven Times Square
New York, New York 10036


Re:      In Re Boy Scouts

Dear Mr. Molton:

        Yesterday, in your Rule 2019 submission, you invited any party in interest who sought
the identity of the claimants making up the 10,000 individuals represented by the entity you
represent called “Coalition of Abused Scouts for Justice” to write you to request it. I am writing
in response to your submission to request the list. The Protective Order in place in this case
contains provisions negotiated by the TCC that cover claimant information and you may
designate the list as subject to the Order.

      Our client is by order of the court a party to the mediation. We represent Century
Indemnity.

         Please confirm that you provide us the list and when you will do so.

         I look forward to working with you.

         Thank you.

Sincerely,



  /s/ Tancred Schiavoni
Tancred Schiavoni
of O’MELVENY & MYERS LLP




                 Century City • Los Angeles • Newport Beach • New York • San Francisco • Silicon Valley • Washington, DC
                             Beijing • Brussels • Hong Kong • London • Seoul • Shanghai • Singapore • Tokyo
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       EXHIBIT 2
                       Case 20-10343-LSS          Doc 1166     Filed 08/26/20     Page 4 of 217
From:                        Beville, Sunni P. <SBeville@brownrudnick.com>
Sent:                        Wednesday, August 5, 2020 7:27 PM
To:                          Schiavoni, Tancred
Cc:                          Molton, David J.; Axelrod, Tristan G.; Kirschenbaum, Andrew
Subject:                     RE: BSA/Coali on 2019 Statement


[EXTERNAL MESSAGE]



Correct. We are not, at this me, providing the name and address informa on to protect the iden ty of the vic ms. That
informa on will be ﬁled with proof of claim form pursuant to the Bar Date Order. However, we are working with
BrownGreer to collect and organize the claims informa on so that it can be sorted, organized and presented in diﬀerent
ways that will be helpful in media on and otherwise. Happy to discuss.

Regards,

Sunni P. Beville, Esq.
Brown Rudnick LLP
sbeville@brownrudnick.com
617.856.8475




From: Schiavoni, Tancred <tschiavoni@omm.com>
Sent: Wednesday, August 5, 2020 7:13 PM
To: Beville, Sunni P. <SBeville@brownrudnick.com>
Cc: Molton, David J. <DMolton@brownrudnick.com>; Axelrod, Tristan G. <TAxelrod@brownrudnick.com>; Kirschenbaum,
Andrew <akirschenbaum@omm.com>; Schiavoni, Tancred <tschiavoni@omm.com>
Subject: RE: BSA/Coali on 2019 Statement

External E-mail. Use caution accessing links or attachments.

Sunni

Do I understand your email as conveying that you will not identify the claimant?


From: Beville, Sunni P. <SBeville@brownrudnick.com>
Sent: Wednesday, August 5, 2020 7:11 PM
To: Schiavoni, Tancred <tschiavoni@omm.com>
Cc: Molton, David J. <DMolton@brownrudnick.com>; Axelrod, Tristan G. <TAxelrod@brownrudnick.com>
Subject: BSA/Coali on 2019 Statement


[EXTERNAL MESSAGE]



Tanc,

David Molton forwarded to me your correspondence reques ng informa on rela ng to the 2019 Statement ﬁled by the
Coali on of Abused Scouts for Jus ce. Thank you for reaching out to us. We look forward to working with you.

Subject to conﬁden ality restric ons, the Coali on has agreed to provide the following informa on to par es:
                              Case 20-10343-LSS                      Doc 1166         Filed 08/26/20       Page 5 of 217
         Current City, State of vic m
         Date(s) of incident(s)
         Loca on of Incident and/or responsible Local Council (to the extent it is immediately available)

We are currently compiling this informa on and will send this informa on as soon as possible. Before doing so, can you
conﬁrm whether you are subject to the Conﬁden ality and Protec ve Order governing these chapter 11 cases and if so,
that you agree to treat the informa on provided as “COMMITTEE ADVISOR ONLY”?

Please feel free to contact us with any ques ons or to discuss further.

Regards,



Sunni P. Beville
Managing Director, Dispute Resolution & Restructuring

Brown Rudnick LLP
One Financial Center
Boston, MA 02111
T: 617.856.8475
M: 617.899.6972
F: 617.289.0457
sbeville@brownrudnick.com
www.brownrudnick.com




Inclusion and self-expression are professional and personal values of mine.
One way I practice these values is to share my preferred gender pronouns.
Mine are she / her / hers.
Please consider the environment before printing this e-mail




***********************************************************************************

The information contained in this electronic message may be legally privileged and confidential under applicable law, and is intended only for the use of
the individual or entity named above. If the recipient of this message is not the above-named intended recipient, you are hereby notified that any
dissemination, copy or disclosure of this communication is strictly prohibited. If you have received this communication in error, please notify Brown
Rudnick LLP, (617) 856-8200 (if dialing from outside the US, 001-(617)-856-8200) and purge the communication immediately without making any copy or
distribution.

To the extent Brown Rudnick is a "data controller" of the "personal data" (as each term is defined in the European General Data Protection Regulation)
you have provided to us in this and other communications between us, please see our privacy statement and summary here which sets out details of the
data controller, the personal data we have collected, the purposes for which we use it (including any legitimate interests on which we rely), the persons to
whom we may transfer the data and how we intend to transfer it outside the European Economic Area.

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dissemination, copy or disclosure of this communication is strictly prohibited. If you have received this communication in error, please notify Brown
Rudnick LLP, (617) 856-8200 (if dialing from outside the US, 001-(617)-856-8200) and purge the communication immediately without making any copy or
distribution.

To the extent Brown Rudnick is a "data controller" of the "personal data" (as each term is defined in the European General Data Protection Regulation)
you have provided to us in this and other communications between us, please see our privacy statement and summary here which sets out details of the
data controller, the personal data we have collected, the purposes for which we use it (including any legitimate interests on which we rely), the persons to
whom we may transfer the data and how we intend to transfer it outside the European Economic Area.

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         EXHIBIT 3
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                                                  ABOUT OUR FIRM            OUR TEAM        CURRENT LITIGATIONS




                                                  BLOG          CONTACT




   Anne Andrews
   For over twenty years, I have worked extensively with                                           Type and press enter to searc
   my founding partner, John C. Thornton, litigating
   personal injury product liability cases against major
   pharmaceutical companies resulting from the sale of
                                                                                                          Current
   dangerous drugs, medical devices and dietary                                                      
   supplements. Andrews & Thornton has unique                                                             Litigations
   experience in obtaining compensation for clients despite
   the wrongdoing company declaring bankruptcy.
       1




                                                                                                  Recent News & Blog
   Experience to Excel in Opioid
LIVE CHAT




                                                                                                  Posts
   Bankruptcies
                                                                                                   Boy Scouts of America
   Bankruptcy Leadership and Experience
                                                                                                    Bankruptcy April 14, 2020
   As you know, I represent Ryan Hampton and Cheryl Juaire on the Of cial Committee of             Helping Military Families
   Unsecured Creditors in the Purdue Bankruptcy. Together, Ryan, Cheryl, and I are ghting           Obtain Recovery In Purdue
   tooth and nail to draw attention to the real victims of this bankruptcy—those still              Pharma Bankruptcy
   suffering with addiction, those in recovery, and the families of those who have succumb          March 20, 2020
   to their opioid use.
                                                                                                   Breaking News: Purdue Files
   I represent more than 1,000 additional creditors of Purdue. Each of these victims’ stories       for Bankruptcy
   are as tragic as the next, which hardworking, stable livelihoods being turned upside down        September 16, 2019
   or even ended early by these drugs. I have built my career out on representing victims of
   corporate greed and the bulk of my experience comes from litigating against the
   pharmaceutical industry. Not only do I take on traditional lawsuits, but my rm has
   focused on representing victims in bankruptcies just like Purdue’s.

   Most recently before Purdue, I have represented my client as Co-Chair of the Of cial
   Committee of Unsecured Creditors in Insys Therapeutics (In re Insys Therapeutics, Inc.,
   Bankruptcy No. 19-11292, Chapter 11). Insys, as the rst pharmaceutical bankruptcy
   stemming from the over 2,600 opioid lawsuits led by states, cities, and counties, has
   already covered some of the dif cult ground required in these complicated bankruptcies.
   I am happy to say that the victims of Insys will be compensated fairly in light of the
   limited resources available.

                                                                                                                           Privacy - Terms
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   In addition to my work in Insys, I have served on Unsecured Creditors’ Committees in
   TwinLab (In re TL Admin. Corp., Bankruptcy No. 03-15564, Chapter 11), N.V.E. (In re
   N.V.E., Inc., Bankruptcy No. 05-35692, Chapter 11), and as the Chair of the Of cial
   Committee of Unsecured Creditors in NECC (In re New England Compounding
   Pharmacy, Inc., Bankruptcy No. 12-19882, Chapter 11). I also participated in bankruptcy
   proceeding on behalf of tort creditors in Chemtura (In re Chemtura Corp., Bankruptcy
   No. 09-11233, Chapter 11), Metabolife (In re MII Liquidation Inc., Bankruptcy No. 05-
   6040, Chapter 11), MuscleTech (In re Ephedra Products Liability Litigation/In re
   Muscletech Research and Development, Inc., 349 B.R. 333 (S.D.N.Y. 2006), Chapter 15),
   Dow Corning (In re Dow Corning Corp., Bankruptcy No: 95-20512, Chapter 11), and
   PG&E (In re PG&E Corp., Bankruptcy No. 19-30088, Chapter 11). Earlier this year, I
   began serving on the Tort Claimants Creditors’ Committee in Boy Scouts (In re Boy
   Scouts of America, Bankruptcy No. 20-10343, Chapter 11). Ms. Andrews was a
   cofounder of the “Coalition of Abused Scouts for Justice,” an Ad Hoc Committee in the
   Boy Scouts Chapter 11 Bankruptcy. The committee is dedicated so that no victim will be
   left without compensation. For information regarding joining the coalition, please email
   me directly at bsa@andrewsthornton.com.

   I have been fortunate enough to have held leadership positions on the tort committees
   for plaintiffs in the bankruptcy proceedings led by Metabolife International, Inc.,
   MuscleTech, and NVE, Inc. Due in large part to my rm’s efforts, these bankruptcies
   generated over $300 million in settlement proceeds for the bene t of the claimants
   injured by ephedra. For In re MII Liquidation, Inc. (Metabolife – Chapter 11), I was
       1




   selected by the Of ce of the United States Trustee for the Southern District of California
LIVE CHAT




   to serve in a representative capacity for two of my clients on the Of cial Committee of
   Unsecured Creditors, and I was elected by that Committee as Committee Co-Chair. In
   that capacity, I assisted in successfully negotiating the settlement of 700 tort claims
   within the bankruptcy. I was also selected by the Of ce of the United States Attorney for
   the District of New Jersey to serve in a representative capacity for my client on the
   Of cial Committee of Unsecured Creditors for the In re N.V.E., Inc. Chapter 11 case,
   where I served as Lead Counsel in the negotiation and global resolution of tort claims. In
   addition, I was selected, per coordinated orders of Justice Farley of the Ontario
   Commercial Court in Ontario, Canada and Judge Rakoff in the Southern District of New
   York, to serve on the Ad Hoc Committee of Tort Claimants in the Canadian CCAA case
   and companion U.S. Chapter 15 case in In re MuscleTech Research and Development,
   Inc. This was one of the rst Chapter 15 cases ever led (Chapter 15 provides for
   ancillary U.S. proceedings in aid of foreign main insolvency proceedings). My rm was an
   integral component to the negotiation and global resolution of tort claims in that case.

   I was selected by the Of ce of United States Trustee for the Southern District of New
   York to serve in a representative capacity for my client on the Of cial Committee of
   Unsecured Creditors in the In re Chemtura Corporation bankruptcy, which involved
   signi cant tort claims for injury resulting from exposure to diacetyl.

   I also served on the Of cial Creditors Committee in the tragic case of a deadly fungal
   meningitis outbreak caused by contaminated steroid injections made by the New
   England Compounding Pharmacy. The bankruptcy was in parallel with the MDL 2419 in
   the District of Massachusetts, before the honorable Rya W. Zobel. As Co-Chair of the
   Of cial Creditors’ Committee, I worked with a team of top national attorneys to secure
                                                                                                              Privacy - Terms
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   an unexpected 280-million-dollar settlement as compensation for the victims. I was
   fortunate to receive peer recognition for this work. My rm was a 2015 Products
   Liability Finalist for the National Law Journal’s Elite Trial Lawyers. Additionally, I
   received acknowledgement for Distinguished Achievement (Top Gun) Award for Orange
   County Trial Lawyers Association (OCTLA).

   In addition to my current committee work in opioid bankruptcies of Insys and Purdue, I
   represent a creditor seated on the Of cial Committee of Tort Creditors in PG&E. That
   case recently won court approval of a Restructuring Support Agreement that commits
   $13.5 billion to victims of wild res.

   Expert development

   I have been fortunate enough to serve in multiple capacities in Federal MDLs and state
   coordinated litigations, as detailed below. In each litigation I have been able to commit
   the time and energy to recruit and prepare nationally recognized experts whose reports
   and testimony have been instrumental in the litigation.

   Understanding the importance of knowledgeable quali ed experts regarding the
   prescription opioid litigation, I have been working to contact and secure the commitment
   of a number of the world’s leading experts in the issues confronting this litigation. I have
   been successful at assembling a distinguished panel of doctors and scientists with
   longstanding research interests in the epidemiology, pharmacology, neuroscience and
   public health issues of the opioid epidemic. Additionally, I have the ability to call on
       1




   resources and contacts to bring additional expertise into litigations and bankruptcies as
LIVE CHAT




   needed.


   Professional Experience: Multidistrict and State
   Coordinated Leadership and Experience
   My rm, Andrews & Thornton, has extensive multidistrict federal and coordinated state
   experience. I was appointed to the In Re: Power Morcellator Products Liability Litigation
   (MDL 2652) Plaintiffs’ Steering Committee involving Johnson and Johnson’s Ethicon
   Power Morcellator under the Honorable Judge Kathryn H. Vratil in the United States
   District Court in the District of Kansas. We were involved in working with experts in
   alternative safer designs. The entire litigation settled at an early stage

   I am currently honored to be appointed to the Plaintiffs’ Executive Committee in the In
   Re: Bair Hugger Forced Air Warming Devices Products Liability Litigation (MDL 2666),
   where I am fortunate enough to work with a diverse and highly skilled group of attorneys
   from across the nation. Our rm located and developed an internationally renowned
   expert in uid dynamics to model the effect of the Bair Hugger forced air warming device
   on air ow in the operating theater. The modeling successfully withstood a Federal Rule
   of Evidence Rule 702 challenge. It will be important evidence in the upcoming trials.

   I was appointed to the Plaintiffs’ Executive Committee (PEC) by the Honorable Robert L.
   Miller, Jr. for In Re: Biomet M2a Magnum Hip Implant products liability litigation (MDL
   2391), which settled for $56 million in 2014. I chaired the Regulatory Committee.

   Honorable Barry Ted Moskowitz appointed me to the PSC for In re Hydroxycut (MDL
                                                                                                               Privacy - Terms
   2087). We developed key expert witnesses at the outset of the litigation in the key areas
                            Case 20-10343-LSS            Doc 1166      Filed 08/26/20        Page 10 of 217
   of nephrology, cardiology, pharmacology and neurology.

   For In re: Ephedra Products Liability Litigation (MDL 1598), Hon. Jed. S. Rakoff of the
   Southern District of New York appointed me to the Plaintiffs’ Coordinating Counsel. My
   partner and I successfully conducted an extensive FRE 702 hearing involving complex
   scienti c issues. We retained and developed the key experts in pharmacology, cardiology
   and neurology. I have served as Co-Plaintiffs’ Liaison Counsel in In re Metabolife for 356
   Cases (Cal. JCCP 4360) before Honorable Ronald Styn in San Diego, CA.

   My rm served as Lead Counsel in In re Quinine (JCCP 4565), which settled in 2011 with
   various manufacturers, including Teva and McKesson, for over $40 million. We
   developed top experts in the elds vital to the litigation: hematology and nephrology.

   Currently, I serve as Lead Counsel for USPLabs Dietary Supplement Cases (JCCP 4808).

   In addition, my rm has represented clients in various capacities for the following
   pharmaceutical MDLs and state coordinated proceedings:

            In Re: Actos (JCCP 4696);
            In Re: Avandia (JCCP 4578);
            In Re: Byetta (JCCP 4574);
            In Re: C. R. Bard, Inc. Pelvic Repair System (MDL 2187);
            In Re: Diet Drugs (Phentermine / Fen uramine / Dexfen uramine) products
            liability litigation (MDL 1203);
       1




            In Re: Fosamax / Alendronate Sodium (JCCP 4644);
LIVE CHAT




            In Re: Gadolinium (JCCP 4556 and MDL 1909);
            In Re: Kugel Mesh (MDL 1842);
            In Re: PPA litigation (MDL 1470);
            In Re: Pradaxa (MDL 2385);
            In Re: Reglan Metoclopramide (JCCP 4631);
            In Re: Stryker Rejuvenate & ABG II Hip Implant (MDL 2441);
            In Re: Vioxx (MDL 1657);
            In Re: Yaz Yasmin (JCCP 4608 and MDL 2100);
            In Re: Zimmer Durom Cups (MDL 2158);
            In Re: Zoloft (MDL 2342);

   Currently, my rm advocates for victims injured by dietary supplements (OxyElite Pro),
   Risperdal (JCCP 4775), Bair Hugger Forced Air Warming Device (MDL 2666), Karl Storz
   Power Morcellator (Case No. BC581718), and several other harmful drugs and medical
   devices. In addition to my leadership experience in multiple litigations, I have held board
   positions in the following organizations: Consumer Attorneys of California (CAOC),
   Orange County Trial Lawyers (OCTLA), Orange County Bar Association (OCBA) and I am
   frequently invited to speak as a lecturer in frequent areas of law as a recognized expert
   in mass tort and bankruptcy around the country. I am past President of OCTLA and have
   led the Hydroxycut Litigation Group and Fungal Meningitis Litigation Group by the
   American Association for Justice (AAJ).




                                                                                                              Privacy - Terms
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   SIGN UP FOR OUR                              LATEST TWEETS                              ON FACEBOOK
   NEWSLETTER                                                                              Andrews Thornton updated their website address.

   Email Address                                 The PG&E Bankruptcy may affect your
                                                rights as a wild re victim! Andrews &
                                                Thornton has experience representing vi…
   Zip Code                                     https://t.co/oLSYfZOZuf
                                                550 days ago

                                                 https://t.co/iyPOwPvKF8 Contact
   First Name
                                                Andrews & Thornton at (949) 748-1000 or
                                                via email at info@andrewsthornton.com if
   Last Name                                    y… https://t.co/VnkpEnXhVq
                                                                                            Andrews Thornton updated their website
                                                600 days ago
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                                                 U by Kotex® Sleek® Tampons, Regular       www.facebook.com


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                                                be… https://t.co/TrzyDC8DhY                      2       0     0      View on Facebook · Share

                                                600 days ago

                                                 Follow us on Twitter
                                                                                                               Load more




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          EXHIBIT 4
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                                                  Scouting         Filed
                                                           - Boy Scouts   08/26/20
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                                                                               Abuse -Call 1.888.99.SCOUT




                                           ABUSED IN SCOUTING
                                            1-888-99-SCOUT



        THE BOY SCOUTS OF AMERICA FILED FOR BANKRUPTCY. DEADLINE FOR FILING CLAIMS IS
                                                 NOVEMBER 16: CALL NOW!




                                         SCOUTING ABUSE SURVIVORS

                 Do Not Su er in Silence or
                    Shame Any Longer
               If you were sexually abused while in the Boy Scouts of America,
                  you are not alone. Hold the BSA accountable, prevent future
                                           abuse, and contact us today.



                                                       START NOW


                                                      LEARN MORE




                                                                                                            

        How can we help you?
                                                                                                            000001

https://abusedinscouting.com                                                                                    1/13
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                                                           - Boy Scouts   08/26/20
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                                                                               Abuse -Call 1.888.99.SCOUT




                                                 As Featured In




                                                                                                            

        How can we help you?
                                                                                                            000002

https://abusedinscouting.com                                                                                    3/13
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                                                                               Abuse -Call 1.888.99.SCOUT




                 Boy Scouts of America Filed for
                          Bankruptcy
                               The BSA led for Chapter 11 Bankruptcy February
                                2020. This may limit your chances to seek justice
                               for your abuse. Learn more about the Boy Scouts
                                 bankruptcy and how it impacts your claim by
                                                 clicking below!

                                                      LEARN MORE




            Map of Scouting Abuse Locations
                                                                                                            
          Click to view a list of locations by state, troop number, city, and camp
          name
        How      where
            can we        our clients reported they were abused by BSA leaders.
                    help you?
                                                                                                            000003

https://abusedinscouting.com                                                                                    4/13
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                                                           - Boy Scouts   08/26/20
                                                                        Sexual             Page 16 of 217
                                                                               Abuse -Call 1.888.99.SCOUT




      We are Survivors: Join the Movement


                     What is Abused in Scouting? - Call for Free Ca…




                              Abused in Scouting started with a few voices in
                             February 2019. Now we’re a group of over 6,000
                            men who survived sexual abuse in BSA programs,
                            united to ght against Scouting abuse. It’s time to
                           kill the secret of Boy Scout of America sexual abuse
                             and let survivors know they are not alone. Come
                           forward and talk to us today to protect the children
                                                of tomorrow.


                                                    CLIENT TESTIMONIALS                                     

        How can we help you?
                                                                                                            000004

https://abusedinscouting.com                                                                                    2/13
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                                                                        Sexual             Page 17 of 217
                                                                               Abuse -Call 1.888.99.SCOUT


                    VIEW MAP




            List of Confirmed BSA Abusers
            Your abuser's name may be on our list. Search our list of con rmed child
            sex abusers within the Boy Scouts of America.


                    VIEW LIST




                                BOY SCOUTS OF AMERICA SEXUAL ABUSE

            Decades of Hidden Scouting Abuse
                     Child abuse happened in nearly every Scouting program, including
        Sea Scouting, Cub Scouting, Venturing, Scouts BSA, Exploring, and Learning for Life.




                                                                                                            

             SECRET
        How can we help SEXUAL
                        you?   ABUSE FILES
                                                                                                            000005

https://abusedinscouting.com                                                                                    5/13
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                     Since its founding in 1910, the Boy Scouts of America has kept thousands
                     of secret les documenting sexual abuse in the Boy Scouts. These les,
                     known as the "Perversion Files", hold the names of alleged sexual
                     predators in the Boy Scouts of America going all the way back to 1919.
                     The Perversion Files were held from the public for decades, the BSA
                     refusing to disclose their secret blacklist to the public.




                 FAILURE TO REPORT TO POLICE
                     However, investigators nally got to review some of these les in 2012.
                     After reviewing over 1,600 con dential BSA les from 1970 to 1991,
                     investigators indicated that Scouting o cials often silenced sexual abuse
                     cases by asking sexual predators to quietly resign instead of reporting
                     them to local authorities. In many of these cases, molesters in the Boy
                     Scouts of America were not reported to the police.




                 QUIET DISMISSALS

                     The leaders of the organization allegedly created a system to maintain
                     con dential les of all of these abusers and did everything to ensure
                     such information never was discovered. The Boy Scouts dealt with these
                     predators so much that the organization allegedly created a form letter
                     to send to the thousands of leaders being dismissed over abuse
                     allegations. The form letter stated, “We are making no accusations and
                     will not release this information to anyone, so our action in no way will
                     a ect your standing in the community.” This ensured that predators                     
               could continue their patterns of abuse to innocent victims in
        How can we help you?
               communities all over this country.                                                           000006

https://abusedinscouting.com                                                                                    6/13
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                                                                               Abuse -Call 1.888.99.SCOUT




                 PUSHING BOUNDARIES

                     These sexual predators within the BSA took advantage of the innocence
                     of children and/or enticed them with illegal activities. In the Boy Scouts of
                     America les, hundreds show Scout leaders allowed boys to drink
                     alcohol, drive cars, or look at pornography. As the trust continued to
                     build, Scout leaders would often gradually test physical boundaries
                     during skinny dipping, group showers, sleepovers and one-on-one
                     activities.

                     Over time, abusive Scouting leaders would continue to twist these
                     boundaries until they sexually abused children in the most horri c ways
                     including rape, masturbation, and fondling. Scouting predators took
                     advantage of children's trust to abuse them in the most horri c ways,
                     and few have been punished for their crimes.




        Because of the Boy Scouts of America's negligence to report sexual abuse crimes or
      provide adequate protection for children, sexual predators were allowed to walk free
                                             and likely harm more children.




        Am I Barred from Suing the BSA Because
                                             

        How can we help you?

                  My Abuse Happened so Long Ago?                                                            000007

https://abusedinscouting.com                                                                                    7/13
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            Not necessarily. Many laws have changed to help victims who were abused, even many
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                                  "The Abused in Scouting organization
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                 Boy Scouts of America Bankruptcy Filing
                                           On February 18, 2020, the Boy Scouts of America
                                             led Chapter 11 Bankruptcy in the United States
                                             Bankruptcy Court for the District of Delaware.
                                           It is important for those abused in Scouting—no
                                           matter what their age or the state where they live
                                                        —to come forward now!

                                                       CALL NOW                  LEARN MORE




                                           What is Chapter 11 Bankruptcy?



             The Chapter 11 bankruptcy process o ers the opportunity for BSA to come up with a reorganization plan to meet its
             obligations to creditors, including Scouting abuse survivors, and to restructure itself so that it can come out of bankruptcy
             and continue operating.




         How Does the Boy Scouts of America Bankruptcy Impact Scouting
                               Abuse Survivors?



             First, the Chapter 11 bankruptcy process means that the bankruptcy court will set a deadline for ling claims, approximately
             6 months or so. This deadline severely limits Scouting abuse survivors' time to le claims for their abuse, so coming forward
             now is of the essence.
             On Monday May 18, the bankruptcy court set the deadline for ling claims for November 16, 2020.
             Second, the bankruptcy ling means that to reach a settlement with the thousands of Scouting abuse survivors across the           
             U.S., individual survivors will not get their day in court. However, the streamlined nature of settlement process may mean
             abuse survivors will get the compensation they deserve more quickly and e ciently than having future individual trial dates.
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                                                   What Will Happen Next?



             One of the next steps in the bankruptcy process will be the establishment of a “committee of unsecured creditors,” or a
             group of people made up of creditors to whom BSA owes unsecured obligations—including the potential legal liability to
             abuse survivors.
             It will be essential for the United States Trustee to form an “abuse survivors” or “tort claimants” committee separate and
             distinct from a committee of general unsecured creditors. Such committees have regularly been created in other
             bankruptcies involving sex abuse or other tort claims, e.g., US Gymnastics. One will be necessary in this case to enable
             adequate representation of the diverse community of sex abuse victims.




                         What Will AIS Do During the Bankruptcy Process?



       Our goal is to achieve a measure of justice and fair compensation to the survivors.

             Currently, AIS is advocating for the inclusion of local councils in the bankruptcy proceeding, as well as a way to hold the
             sponsoring organizations accountable if they had knowledge of the abuse.

             We are preparing and will be ling claims on behalf of all members of AIS as soon as the Court nalizes that bankruptcy
             procedure. We are actively preparing each le to meet the criteria the Court will require.

             We have a representative on the Torts claimant committee (Abuse Survivors Committee) and will participate in that process
             throughout the duration of the bankruptcy proceeding.




            What are the Boy Scouts Doing to Compensate Scouting Abuse
                                     Victims?
                                                                                                                                            



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            The Boy Scouts say they plan to use the Chapter 11 Bankruptcy process to establish a Trust that will provide just

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             compensation for Scouting abuse victims.
             We hope that BSA will take the opportunity, in addition to providing compensation to past victims of sex abuse, to take the
             signi cant steps that are necessary both to “come clean,” and provide all stakeholders and law enforcement all of the
             information in their les about past and current abusers, and to reform BSA programs to guarantee the safety of all current
             and future scouts.




                      Why Should Scouting Survivors Come Forward Now?



             It is important for those abused in Scouting—no matter what their age or the state where they live—to come forward now.
             The bankruptcy court just set a window of time for the ling of claims, and this window could be the last chance for abuse
             victims to seek justice.
             The deadline for ling claims against the BSA for sexual abuse is November 16, 2020.
             After this ve-month window of time is over, Scouting abuse survivors may no longer get to hold the BSA accountable for
             their abuse.




                                                    More Information

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                                      HELPING SURVIVORS OF BOY SCOUT ABUSE


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                    A Reckoning For The Boy Scouts Of
             America And Its History Of Sexual Abuse
             Sexual abuse allegations continue to pile up against the Boy Scouts of America as changes to statutes
             of limitations pave the way for future lawsuits. Abused in Scouting Attorney Tim Kosno joined Diane
            Rehm to explain why hundreds have contacted him in recent months to report the abuse, and what he
                                     wants to see done to hold the Boy Scouts accountable.



                                                               LISTEN NOW




      Abused in Scouting On the Air

            In 2012, NPR ran a story featuring lawyer Timothy Kosno describing 1,900 Boy Scout Leaders accused
            of Child Sex Abuse. Listen now!




                                                                                  share


                                           national

                                           1,900 Boy Scout Leaders Accused Of
                                           Child Sex Abuse

                                                      listen                        3:39

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                                                 AIS In The News

                New lawsuit identiﬁes 350 predator Boy Scout scoutmasters




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                                                 Democracy Dies in Darkness



Victims of sexual abuse in the Boy Scouts were
encouraged to come forward. Hundreds responded.
By Kayla Epstein

April 25, 2019 at 1:04 p.m. EDT


A lawyer who has worked for years to bring allegations of sexual abuse within the Boy Scouts of America to light says
that as of Thursday he has gathered about 220 new clients who allege they were abused while participating in the
program as children. The new allegations add to an already extraordinary tally of such claims against organization
dedicated to fostering the leadership and personal growth of young people.

Tim Kosnoff, the attorney who has gathered the claims, has worked on sexual abuse cases involving the Boy Scouts as
well as the Church of Jesus Christ of Latter-day Saints and said he felt a “moral imperative” to bring their stories to
light.

“Kids are still being abused in scouting,” Kosnoff told The Washington Post in a phone conversation Wednesday. “This
is not historical.”

His team says the allegations they’ve received span from 1953 to June 2018. The accusers are as old as 75 and as young
as 15, and hail from 33 states. The crimes alleged range from showing lewd photos to Scout members to molestation.

The Post reviewed a partially redacted document, compiled by Kosnoff and his team, that tallied 150 of the people who
have signed on as clients. The document contains details for about 110 of them, such as their age, the age at the time of
the alleged abuse and what they say happened to them. The list was not yet updated with all the clients who had signed
with Kosnoff when The Post viewed it.

They have not yet filed a lawsuit, and Kosnoff said he was still gathering information from new clients and was waiting
to see whether the Boy Scouts would file for bankruptcy.

Kosnoff was spurred into action by reports in December that the Boy Scouts, which have rebranded as Scouts BSA,
have considered filing for Chapter 11 bankruptcy, which could significantly narrow the window for accusers to file
claims and ensure those claims remained confidential.

“By declaring bankruptcy, institutions like the Boy Scouts or a Catholic diocese are often able to freeze ongoing
litigation for a period of time, which can be frustrating and hard on survivors who have often gone a lifetime without
the answers and justice they deserve,” said Michelle Simpson Tuegel of Seeger Weiss LLP, who is working with
survivors of abuse within USA Gymnastics.

“I worry thatSupport
              these institutions use bankruptcy
                      journalism   you can trustas a toolit to
                                                 when          try to limit
                                                             matters        their
                                                                        most. Getliability
                                                                                   one yearand avoid being held accountable
                                                                                               for $29
by survivors,” she said, but noted that “compensation can still be obtained for survivors through a bankruptcy.”
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Depending on the nature of 20-10343-LSS        Doc also
                           the bankruptcy, it could 1166    Filed 08/26/20
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                                                                   or severely limit any42 of 217
                                                                                         claims in the future after the
bar date. The bankruptcy process can sometimes take years, thereby discouraging survivors while allowing the
defendant to avoid much of the public scrutiny involved in the normal court system and process.

As another incentive, the statute of limitations for childhood sexual abuse had also been extended in states such as
California and New York, giving many victims a new path to having their cases heard.



This year, Kosnoff, in collaboration with the Eisenberg Rothweiler law firm and San Diego attorney Andrew Van
Arsdale, began running television ads and launched a website, abusedinscouting.com, where victims could contact the
lawyers with their stories.

The Boy Scouts of America kept extensive records about sexual abuse of Scouts for decades, but only in the past few
years have those documents become public.

In a statement provided to The Post, the Boy Scouts of America said the records were an “ongoing tool the BSA uses to
keep youth safe from potential perpetrators.” They said individuals were added to the list if they violate, or were
suspected of violating, company policy, and were subsequently banned from the Boy Scouts.

“Every instance of suspected abuse is reported to law enforcement,” the statement said.

In a separate announcement this week, attorney Jeff Anderson released a January testimony from professor Janet
Warren of the University of Virginia, who had been contracted by the Boy Scouts for five years to pore over their
“ineligible volunteer” or “perversion” files from 1946 through 2016. Her team identified 12,254 victims and 7,819
perpetrators in those documents.

The revelation came as Warren provided expert testimony for a case that centered on allegations of child abuse at a
children’s theater company in Minnesota. Anderson’s firm represented the plaintiff in that case.

Anderson also released a list of offenders in New York state, which recently voted to extend its statute of limitations for
cases of childhood sexual abuse. Those names were collected from “perversion files” that had been published by the
Los Angeles Times in 2012.

In response to Anderson’s news conference and Warren’s testimony, the Boy Scouts of America said in a statement
that, “We care deeply about all victims of child abuse and sincerely apologize to anyone who was harmed during their
time in Scouting.”

“We believe victims, we support them, and we have paid for unlimited counseling by a provider of their choice,” they
continued. “Nothing is more important than the safety and protection of children in Scouting and we are outraged that
there have been times when individuals took advantage of our programs to abuse innocent children.

The statement also said they “have enacted strong youth protection policies to prevent future abuse, including
mandatory youth protection training and a formal leader-selection process that includes criminal background checks.”

Warren also emphasized in a news conference call convened by the Boy Scouts on Wednesday that she had found “no
evidence of a coverup” during her analysis.

The Boy Scouts also have a helpline for members to report abuse.

In 2010, Boy Scouts of America was forced to pay $18.5 million in punitive damages in a case brought by a man who
                                                                                                                          /
said he was assaulted by an assistant troop leader in the 1980s, when he was about 12. That lawsuit led to the partial
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disclosure of the files. In 2012, the Oregon Supreme Court ordered the full release of files after the lawyers for accusers
and media organizations fought for access to the documents.

Also in 2012, the Los Angeles Times published a multipart investigation into the perversion files, obtaining documents
that spanned from 1947 to 2005. They published a database containing information of 5,000 men and some women
who were ousted from the organization because of suspected abuse during this time.


Several of the cases collected by Kosnoff in recent months did not appear in any of the files. He described the new
allegations he had discovered as “rich in detail” and said that some clients broke down when they recounted their
stories to his team. As part of the vetting process, they asked alleged victims questions such as their age at the time of
the assault, their troop number and location, and details about what had happened to them.

While Kosnoff said the claims have not yet been verified with the Boy Scouts or in discovery, he was requiring accusers
who wished to retain his services to sign a document saying they were prepared to give a sworn statement to law
enforcement — as it would be a crime to do so falsely. But he was not surprised that so many had kept their stories
secret for so long.

“It’s humiliating, kids don’t tell, they carry the secret into adulthood, their coping strategy is not to tell anyone,”
Kosnoff said. “Many of these men have indicated that they have suffered and struggled their entire lives with this
burden.”

Read more:

Parents reported their 5-year-old son missing. Now they’re charged with murder.

Police came to a house to serve a citation — and found guns, ammo and kids in cage-like cribs

Opinion: The Boy Scouts are rebranding. But they’re still excluding a big group.

Scouts’ recruitment war raises questions about what it means to be a girl or a boy




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                                        MEET OUR LEGAL TEAM




                                                          Founding Attorney



                                            ANDREW VAN ARSDALE                                                 

            Attorney Andrew Van Arsdale created AVA Law Group, Inc. so you could have easy
            access to the justice system and e cient legal representation.
https://avalaw.com/learn-more/who-we-are/                                                                          3/10
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        Originally from Billings, Montana, Andrew Van Arsdale moved to San Diego, California to
        pursue a career in law to ensure people could access legal representation after being
        wronged by powerful corporations. Andrew earned his law degree in from the University
        of San Diego in 2018 and is licensed to practice law in California, Montana and Nevada.
        For years Andrew has helped people struggling from negligence-related injuries seek
        maximal compensation from responsible parties, ensuring client satisfaction at all
        times.


        Van Arsdale’s work pursuing justice for Scouting sexual abuse survivors through Abused
        in Scouting has been widely recognized by the media and featured on platforms
        including CNN, ABC News, NBC News, etc. He has extensive experience connecting
        sexual abuse survivors to the representation they deserve and handling abuse cases
        from a wide range of organizations including the Catholic Church, the Mormon Church,
        and the Boy Scouts of America.




        Bar Admissions
        - State Bar of California, 2018
        - State Bar of Montana, 2019
        - State Bar Nevada, 2019


        Professional Association Memberships
        - American Association for Justice
        - Los Angeles County Bar Association
        - Nevada Justice Association
        - San Diego County Bar Association




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                                                               Paralegal



                                                  DONNELL ALLEN
              Paralegal Donnell Allen ensures the operational quality of AVA Law so co-counsel
                                             and clients receive top-notch care.




    Donnell maintains the integrity of clients' cases by completing background checks on
                                                                                                               
    potential clients, maintaining case quality assurance, and drafting legal documents necessary
    for case quali cation and correspondence. Donnell heads communication between AVA Law
https://avalaw.com/learn-more/who-we-are/                                                                          5/10
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    Group and co-counsel rms to make certain clients are informed and updated on cases.


    Donnell has substantial experience working as a linguist for the U.S Government in federal
    court as an interpreter and translator. She transitioned into the role of a criminal defense trial
    paralegal and mitigation specialist in both federal and state courts, lending her knowledge
    and experience to AVA Law's services.




    OUR HISTORY

                   Andrew started AVA Law Group to continue in helping protect individual
                                            interests against powerful entities.

            Over the years he’s helped thousands of people who have been injured because of
            the irresponsible actions of other seek justice. The sad truth is in single event cases,
            like trucking accidents or car accidents, it’s not the irresponsible person whose
            conduct deprived the injured party of justice; it’s the insurance companies who
            represent their responsible person that deliver injustice day after day. The
            insurance companies who represent drivers do not want justice, because it’s all
            about year-end bonuses generated through keeping costs down and pro ts high.


            In product and pharmaceutical cases, it’s the dollar and cents analysis conducted
            every day in corporate America---the analysis that justi es putting a product out in
            the market---that could hurt or kill a certain percentage of the people that use it.
            How is that ok?


            Because, in the corporate world, often the amount of money a company can make
            from selling the product o sets the costs it will end up having to pay the families of
            the people killed or permanently injured. Incredibly, under this analysis the pro ts
            justify the injuries and death of individual people. When someone is hurt or killed
            because of the irresponsible actions of another, it’s imperative they have adequate        
            representation to help them navigate the mine eld that’s obtaining justice in our
            country.
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            CONTACT US TODAY FOR YOUR FREE, IN-DEPTH
            CASE EVALUATION

              WE'RE ON YOUR SIDE

              WE'RE AVAILABLE 24/7

              NO FEES UNLESS YOU WIN




                                                                                                     

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            Because, in the corporate world, often the amount of money a company can make
            from selling the product o sets the costs it will end up having to pay the families of

            the people killed or permanently injured. Incredibly, under this analysis the pro ts
            justify the injuries and death of individual people. When someone is hurt or killed
            because of the irresponsible actions of another, it’s imperative they have adequate
            representation to help them navigate the mine eld that’s obtaining justice in our
            country.




    VIDEOS AND MEDIA

                          Montana Personal Injury Lawyers - AVA …




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            FIRST NAME                                               LAST NAME




            EMAIL                                                    PHONE NUMBER




            BRIEFLY DESCRIBE YOUR CASE




                                                     FREE CONSULTATION




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                                                        CONTACT INFO


                                                         3667 Voltaire Street,
                                                         San Diego, CA 92106



                                                    2718 Montana Ave. Suite 222
                                                         Billings, MT 59101



                                                       Phone: 1-800-777-4141



                                                         Fax: (619) 374-2705



                                                           support@ava.law



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    California, Montana and Nevada, but associates with attorneys throughout the country, Principal o ce: 3667 Voltaire Street,
    San Diego, California 92106.


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    doctor. Discontinuing a prescribed medication without your doctor's advice can result in injury or death. No representation is
    made that the quality of the legal services performed is greater than the quality of the legal services performed by other
    lawyers. AVA Law Group, Inc. not accepting cases in states where this advertising con icts with laws or state rules. Legal
    representation is not o ered or available in Tennessee. While AVA Law Group, Inc. maintains joint responsibility, most cases
    are referred to other attorneys for principal responsibility.




                                                                                                                                 




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                         Untitled




                                                                                      Image capture: Jan 2020   Images may be subject to copyright.

                                                                       james Pe

                                                                  Photo - Jan 2020




https://www.google.com/maps/place/3667+Voltaire+St,+San+Diego,+CA+92106/@32.7395299,-117.2287955,3a,75y,90t/data=!3m8!1e2!3m6!1sAF1Qi…                1/1
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          EXHIBIT 8
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                                                              406.831.1760




                                                              ABOUT US


            Reciprocity Industries, LLC.
                               Combining cutting-edge expertise and experience to serve across the globe.




       Who We Are
       Reciprocity Industries is a software development, website management, and SEO &PPC marketing company
       with specialist expertise in legal and television advertising and call center services. We pride ourselves on staying
       up to date on technological insights and advancements to provide our clients with only the best-of-the-best
       services.


       RI was founded by friends Tyler Cross and Andrew Van Arsdale in 2008. RI started as a small software developing
       and PPC marketing rm and has since substantially expanded over the years to provide for clients across the
       globe. We are located in Billings, MT where our dedicated team ensures ef ciency and quality with every project
       we take on.




https://reciprocityind.com/about-us/                                                                                           1/21
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       Our Services
       Our services include software development, website
       management, SEO & PPC marketing, television advertising,
       legal advertising, and call center services.




       Law Firms
       RI has had a legal advertising focus since its inception, and
       we utilize that expertise to assist law rms with their
       marketing needs.




                                       Meet the Team
                                                          Owners
https://reciprocityind.com/about-us/                                                                          2/21
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                                                                Chief Technology Of cer


                                                                 Tyler Cross
             Tyler Cross earned his degree in Computer Science from Montana State University - College of Engineering in 2004 and
              immediately after began his professional career developing software for an online marketing company. After helping
            dramatically grow the software division of the marketing company and their overall revenue, in 2008 he partnered with
          Andrew Van Arsdale to form his own software and marketing company Reciprocity Industries. Tyler currently leads a team of
                            8 full time developers in an Agile work ow to produce professional quality software solutions.




https://reciprocityind.com/about-us/                                                                                                  3/21
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                                                                  Operations Director


                                                        Andrew Van Arsdale
            Andrew Van Arsdale attended Montana State University Bozeman, earning his Bachelor of Science in Sociology with a minor
          in History. After graduating from MSU Bozeman he moved to San Diego, California, where he worked for plaintiff law rms in
            advertising and intake for 11 years. He later went on to earn his law degree from the University of San Diego and is currently
             licensed to practice law in California, Montana, and Nevada. Andrew has worked directly with over one hundred and fty
                plaintiff law rms that handle mass tort cases in the assistance of their marketing and screening criteria since 2008.




https://reciprocityind.com/about-us/                                                                                                         4/21
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   (https://kosnoff.com)
                                   TIM KOSNOFF : tim@kosnoff.com (mailto:tim@kosnoff.com)

                                 (HTTPS://TWITTER.COM/#!/SEXABUSEATTYS)




                                                                                                                          




            If you have suffered abuse in scouting or Mormonism and would
                 like to learn more about your options please click below.

                      ABUSED IN SCOUTING? (HTTPS://WWW.ABUSEDINSCOUTING.COM/)



                      ABUSED IN MORMONISM? (HTTPS://ABUSEDINMORMONISM.COM/)




                                    ABOUT TIM KOSNOFF
                                    Tim Kosnoff practiced law for forty years as a prosecutor, defense attorney and as a
                                    lawyer representing victims of child sexual abuse. He has extensive experience
                                    handling complex civil child abuse cases & litigation throughout the United States and
                                    Canada. He has handled thousands of complex child sexual abuse cases against
                                    religious and secular organizations including the Boy Scouts of America, the Mormon
                                    Church, the Catholic Church and a wide spectrum of other organizations. Tim has
   recovered more than $500 million dollars in settlements and jury verdicts. Tim has extensive experience successfully
   guiding his clients through the complexities of the United States bankruptcy court process which has become the last
   bastion of defense by these pedophile-shielding organizations.




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   Tim has been extensively pro led by the media in the United States and Canada for his decades-long battle to expose
   (https://kosnoff.com)
   sexual predators and the institutions that hide them.

   Tim has transitioned to a new phase of his celebrated career. He is now available to serve as a consultant, expert
   witness, mediator, lecturer and media commentator.




   Why He Fights
   Tim Kosnoff has devoted more than 30 years exclusively to helping child sexual abuse survivors. He
   has not only taken on individual sexual predators but also brought lawsuits against the institutions and
   organizations that protect, harbor and enable sexual abusers.




   Child abuse prevention &
   support
       CONSULTANT                                                                                                       


       AVAILABLE TO SERVE AS MEDIATOR IN CHILD SEXUAL ABUSE CASES                                                       


       EXPERT WITNESS TESTIMONY                                                                                         


       ADVOCATE AT LARGE FOR VICTIMS OF CHILD SEXUAL ABUSE                                                              


       PUBLIC SPEAKER/LECTURER                                                                                          

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       MEDIA COMMENTATOR                                                                                                          
   (https://kosnoff.com)


        Contact Tim For Help (Https://Kosnoff.Com/Contact-Us/)




                       MY PREVIOUS SUCCESSFUL CASES



       Catholic Dioceses                                The Latter Day                                Salvation Army
      (https://kosnoff.com/catholicdioceses/)               Saints                                 (https://kosnoff.com/salvationar
                                                      (https://kosnoff.com/latterdaysaints/)




                                           See All Cases (Https://Kosnoff.Com/Past-Cases/)




                                                             BLOG

                                                                                                                           

                      It’s Time for Congress to Hold Hearings on....
                                                           Posted on by bgrant_britebuzz (https://kosnoff.com/author/bgrant_brite

                      Throughout its 109-year history, Boy Scouts of America has consistently held itself out to the public as a m
                      and safe environment for young boys to participate in healthy outdoor....

                                                                              Read More (https://kosnoff.com/time-for-congress-hearings-


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   (https://kosnoff.com)


                                              More Blogs (Https://Kosnoff.Com/Blog/)




   “The Sins of Brother Curtis” A Story of Betrayal, Conviction, & the Mormom
   Church

   “… a David vs. Goliath case featuring an obsessive lawyer, Tim Kosnoff, who … eventually
   wins a $3 million settlement.” – The New York Times

            Read More (Https://Kosnoff.Com/Sinsofbrothercurtis/)




                                                     VIDEOS




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   (https://kosnoff.com)




                                              (https://youtu.be/0iuIVQWp-sc?t=779)
               Boy Scouts America Have Pedophile Epidemic, Hiding Hundreds – NBC Nightly News




            (https://www.facebook.com/344945289678961/videos/vb.344945289678961/2298126013556323/?
                                                 type=2&theater)
                      AIS Legal Team to Announce First Case Filed Against BSA for Child Sex Abuse




                                       (https://www.youtube.com/watch?v=0D85ug6mdF0)
                         New Lawsuit Identi es 350 Predator Boy Scout Scoutmasters | MSNBC




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   (https://kosnoff.com)




                (https://www.washingtonpost.com/video/national/how-the-boy-scouts-is-changing-amid-recent-
                       controversies/2018/05/14/b697edbe-57aa-11e8-9889-07bcc1327f4b_video.html)
                       BSA failed to stop hundreds of previously unreported sexual predators




                                      (https://www.youtube.com/embed/XBofWPZXc3s)
                                 Former Boy Scouts Allege Abuse – NBC Today Show




                                      (https://www.youtube.com/embed/K-1GO1WcsEE)
                              Sexual abuse in the Boy Scouts -The Fifth Estate Program




                                       More Videos (Https://Kosnoff.Com/Read-More/)




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                ABUSED IN SCOUTING? ( HTTP://WWW.ABUSEDINSCOUTING.COM/)
   (https://kosnoff.com)


                      ABUSED IN MORMONISM? ( HTTPS://ABUSEDINMORMONISM.COM/)




            About Us


            Tim Kosnoff practiced law for forty years as a prosecutor, defense attorney and as a lawyer
            representing victims of child sexual abuse. He has extensive experience handling complex civil
            child sexual abuse litigation throughout the United States and Canada. He has handled
            thousands of complex child sexual abuse cases against religious and secular organizations
            including the Boy Scouts of America, the Mormon Church, the Catholic Church and a wide
            spectrum of other organizations.




            Contact Info


             1321 Upland Drive PMB 4685
               Houston , TX 77043


             Email : Tim@Kosnoff.Com (Mailto:tim@Kosnoff.Com)


             Main : 206-257-3590 (Tel:206-257-3590)

               Fax : 206-837-9690
               Toll Free : 1-855-LAW-4-CSA (Tel:1-855-LAW-4-CSA)
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               Child Abuse Help And Advocacy (Https://Kosnoff.Com/How-Can-Tim-Help/)

               Past Cases (Https://Kosnoff.Com/Past-Cases/)

               Read More (Https://Kosnoff.Com/Read-More/)

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                                   TIM KOSNOFF : tim@kosnoff.com (mailto:tim@kosnoff.com)

                                   (HTTPS://TWITTER.COM/#!/SEXABUSEATTYS)




                                        (https://kosnoff.com)




   Firm Overview

   The attorneys at Kosnoff Law are dedicated to assisting the survivors of sexual abuse. Tim Kosnoff
   has spent more than 20 years focusing exclusively on representing child sexual abuse survivors.
   From our offices in Seattle, Washington and now San Juan, Puerto Rico we have successfully
   represented clients throughout the United States, Canada and Latin America. Our attorneys are
   devoted to applying their experience, advocacy skills, and dedication to fight the sexual abuse of
   children. We have successfully represented survivors of child sexual abuse in cases involving child
   molestation, parental child abuse, and cover-ups by the Catholic diocese, the Latter Day Saints, the
   Boy Scouts of America, the Jesuits and other religious orders. Our current cases involve actions
   against the Spokane Diocese, Milwaukee Archdiocese, Helena Diocese, Great Falls Diocese, and
   the Boy Scouts of America.
   In pursuing any sexual abuse case, we will thoroughly investigate your case, identify every
   responsible party, work with expert witnesses, and work to resolve your case effectively and in a
   manner that serves your individual objectives.
   We protect individuals by taking legal action against the institutions that protect abusers.
   Part of the battle against child sexual abuse is taking individual pedophiles to court and making
   sure they are punished to the fullest extent of the law. However, as recent well-publicized cases
   against the Catholic Church have shown, the battle must also be waged against institutions that
   cover up incidents of molestation and protect abusers.
   Extensive Experience as Trial Lawyers and Advocates

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   The attorneys at the Kosnoff Law Firm have nearly 40 years experience as trial lawyers and
   advocates for their clients. The attorneys at the Kosnoff Law Firm have the experience and
   resources necessary to take on virtually any opponent.
   The attorneys at Kosnoff Law have successfully handled many large-scale lawsuits. These lawsuits
   have resulted in extensive recoveries for Kosnoff Law clients, including many clients who
   participated in the $166.1 million settlement with the Society of Jesus, Oregon Province. With
   experience handling so many large-scale lawsuits, Mr. Kosnoff frequently appears on television and
   in newspaper articles. They often use the opportunities afforded by media coverage to shine a light
   on sexual predators and their protectors, while publicizing the devastating societal costs and
   individual costs of childhood sexual abuse.
   Our attorneys network with other sexual abuse attorneys around the country.
   The attorneys at Kosnoff Law take no action, in the press or the courtroom, without the full
   consent of their clients. They treat every client with compassion and consideration, assuring each
   client that the abuse was not the client’s fault and that the client can experience healing by
   pursuing justice. With the consent of every survivor, the attorneys at Kosnoff Law aggressively
   pursue legal action against every party responsible for the survivor’s trauma.
   Contact Us
   “Getting justice, dignity and compensation for survivors of childhood sexual abuse is what matters.”
   We will handle your case confidentially and discreetly. For more information about our firm and
   services, contact the attorneys at the Kosnoff Law Firm. We assist survivors throughout the United
   States and Canada. Free initial consultations.




   Our information

   TIM KOSNOFF
   1321 Upland Drive PMB 4685
   Houston , TX 77043


   Email: tim@kosnoff.com (mailto:tim@kosnoff.com)
   Main: 206-257-3590
   Fax: 206-837-9690
   Toll Free: 1-855-LAW-4-CSA (tel:1-855-LAW-4-CSA), 1-855-529-4272 (tel:1-855-529-4272)


        Contact Tim For Help (Https://Kosnoff.Com/Contact/)



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        EXHIBIT 11
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   Timothy David Kosnoff
    License Number:        16586
    License Type:          Lawyer
    Eligible To Practice: Yes

    License Status:        Active
    WSBA Admit Date:       11/14/1986


   Contact Information

    Public/Mailing Address: Kosnoff Law PLLC
                                1321 Upland Dr
                                Houston, TX 77043-4718
                                United States
    Email:                      Tim@Kosnoff.com
    Phone:                      (425) 837-9690
    Fax:                        (855) 211-4459
    Website:
    TDD:


   Practice Information Identified by Legal Professional

    Firm or Employer:                       Kosnoff Law PLLC

    Office Type and Size:                   Solo practice
    Practice Areas:                         Personal Injury

    Languages Other Than English:           None Specified


   Professional Liability Insurance

    Private Practice: No
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    Last Updated:      11/30/2019 8:00:00 AM


   Committees

    Member of these committees/boards/panels:


    None


   Disciplinary History

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                        Your Questions                                                                       




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               Available addresses
               Your address will be a street address, not a PO Box. So you can recieve both mail and
               packages at your address. Find out what your address will look like.


               In This Section

                         What if I want my address to be in LA or NY or FL etc.?
                         Where will my address be?
                         What will my address be?



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               What if I want my address to be in LA or NY or FL etc.?
               Your address with mail forwarding services is state-agnostic. Once you fill out a redirect
               form with USPS, it will forward your mail to the new address, irrespective of where it is
               in the US. That means the senders don’t need to know your address in Houston and
               can keep sending mail to your old address. You can receive your mail as if your address
               never changed.

               If you are moving overseas, the State of your address is in matters even less. You access
               your mail 24/7 via the Virtual Mailbox.

               Where will my address be?



               Your address will essentially be in the cloud!

               We own and operate our warehouses in Houston, TX, which is where your address will
               reside. We have complete control over receiving, sorting and shipping your mail. Which
               is really important for the safety of your mail.

               Many of the other mail forwarding services provide multiple addresses in different
               states. Usually this means they are contracting with 3rd party mom and pop stores or
               individuals to receive, handle and then ship your mail to their central location. This
               delays your access to mail by 2-3 business days and opens it to unnecessary risks.

               We prefer to not compromise on the security of our customers mail and provide a
               faster and more efficient service where your mail gets uploaded to your Virtual Mailbox
               the same as it is delivered; scans are usually available within 4 hours and shipments
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               USA


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                                               July 6, 2020

                 Mass tort TV advertising jumps amid coronavirus pandemic

                                             Nate Raymond

Television advertising by law firms seeking clients for lawsuits against the makers of drugs and
consumer products has escalated in 2020, as prices for ads dropped amid the coronavirus pandemic,
according to an attorney ad tracking firm.

Lawyers and referral services have from January to May spent $67 million on mass tort TV
advertising, up 6.6% from the same time last year, when law firms aired fewer spots that cost more
money, according to data analyzed by X Ante.

Rustin Silverstein, the firm's president and founder, said the COVID-19 pandemic may have played
a role in those trends, as state-ordered lockdowns aimed at slowing the virus' spread may have
caused a pullback in advertising from other industries.

Those include movie studios, restaurants and retailers that are typically big advertisers. Their
business troubles may explain the cheaper ad rates that law firms have enjoyed while increasing
their ad buys, Silverstein said.

Oriana Senatore, senior vice president for research at the U.S. Chamber of Commerce's Institute
for Litigation Reform, said the business group also has seen a surge in ads, including those advising
consumers they might have claims related to COVID-19.

"People have largely been at home, especially beginning at pandemic, and probably watching more
TV than ever before," she said. "So it probably makes sense that plaintiff lawyers would want to
capitalize on that."

Brand name and generic versions of Sanofi AG's heartburn drug Zantac rank No. 1 for mass tort
ad spending so far this year, with $22.8 million spent on 31,819 spots, according to X Ante, citing
data from ad tracking firm Kantar CMAG.




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In May alone, ads costing $9.1 million were aired concerning Zantac and ranitidine, as it is
generically known. The drugs since 2019 have become the subject of lawsuits alleging they
contains a known carcinogen and can cause cancer.

Coming in at No. 2 for spending with $15.8 million for the year and $4.13 million in May are
spots concerning talcum power, such as Johnson & Johnson's Baby Powder, which thousands of
lawsuits claim can causes cancer. J&J denies the allegations.

Zantac and talc in May overtook Bayer AG's Roundup, which for the year still ranks first by total
number of ads.

Bayer on June 24 agreed to pay as much as $9.6 billion to settle about 94,000 lawsuits alleging
Roundup and its active ingredient glyphosate cause cancer and another $1.25 billion to support an
agreement to address potential future claims.

Bayer denies the allegations.

The top sponsors of ads in May by dollars were the marketing company Knightline Legal, followed
by Goldwater Law Firm in Phoenix, Arizona; Prime Clerk LLC; Davis & Crump in Gulfport,
Mississippi; and Ferrer, Poirot & Wansbrough in Dallas, Texas.

Those firms did not respond to requests for comment.

Prime Clerk serves as the court-appointed claims and noticing agent for OxyContin maker Purdue
Pharma LP, which filed for bankruptcy last year amid thousands of lawsuits alleging it fueled the
U.S. opioid crisis.

Purdue has undertaken a $23.8 million advertising campaign featuring "Chicago Hope" actor
Héctor Elizondo to advertise a July 30 deadline for people who believe they were harmed by opioid
manufacturer to file claims against it.

(This story has been updated to correct the spelling of Oriana Senatore's first name.)


---- Index References ----

Company: BAYER AG; JOHNSON AND JOHNSON; Prime Clerk; PURDUE PHARMA LP;
SANOFI SA

News Subject: (Business Management (1BU42); Sales & Marketing (1MA51))



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Industry: (Advertising (1AD82); Advertising & Public Relations (1AD83); Advertising
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Pharmaceuticals & Biotechnology (1PH13); Pharmaceuticals Marketing & Sales (1PH83); Viral
(1VI15))

Region: (Americas (1AM92); Mississippi (1MI74); North America (1NO39); Texas (1TE14); U.S.
Southeast Region (1SO88); U.S. Southwest Region (1SO89); USA (1US73))

Language: EN

Other Indexing: (Knightline Legal) (Ferrer; Héctor Elizondo; Rustin Silverstein; Davis & Crump;
Oriana Senatore)

Keywords: antitrust; arbitration; bankruptcy; busimm; banking; capmarket; corpgov; commercial;
dataprivacy; employment; energy; ebec; fedlit; health; immigration; insurance; ip; legindustry;
litigation; ma; products; realestate; securities; tax

Word Count: 549

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(http://www.consumerjusticefoundation.com/news/boy-scouts-of-america-creates-sexual-abuse-compensation-program/)




Boy Scouts of America Creates Sexual Abuse
Compensation Program
Written by Faith Anderson on March 5, 2020
Following last month’s announcement that the Boys Scouts of America (BSA) was ling for Chapter 11 bankruptcy in order to “equitably compensate victims who
were harmed during their time in Scouting and continue carrying out its mission for years to come,” the organization is now calling for individuals with claims
against the Boy Scouts to le through a sexual abuse compensation program. If you or someone you love suffered sexual abuse at the hands of a Scout leader or
another member of the Boy Scouts organization, you may be entitled to nancial compensation for your pain and suffering and other damages. Contact our
consumer advocates at Consumer Justice Foundation today to speak to an experienced child sexual abuse attorney about your claim against the BSA.


BSA Files for Chapter 11 Bankruptcy
Facing a growing number of lawsuits involving childhood sexual abuse that allegedly occurred within the organization, the Boy Scouts of America led for
bankruptcy protection under Chapter 11 of the U.S. Bankruptcy Code in February, a move that was reported on the BSA website. At the time of the bankruptcy
announcement, the organization explained its intention to “use the Chapter 11 process to create a Victims Compensation Trust that would provide equitable
compensation to victims.” The BSA launched a restructuring website with the goal of ensuring that all survivors of childhood sexual abuse in Boy Scouts programs
understand how they can receive the compensation they deserve.

“The BSA encourages all victims to come forward to le a claim in the case. However, the deadline for ling abuse claims has not yet been set by the Bankruptcy
Court,” the restructuring website notes. “As a next step, the BSA will ask the Bankruptcy Court for approval of a proof of claim form for abuse victims. Once the
Bankruptcy Court approves that form, the deadline for ling claims will be set. We expect that deadline to be later this year.” The bankruptcy ling and the
development of this new compensation program come at a time when plaintiffs across the country are pursuing legal claims against the organization for sexual
abuse that occurred during their time in the Scouts. Several states, including Pennsylvania, New York and New Jersey, have implemented new statute of limitations
laws that allow adult victims of childhood sexual abuse to pursue claims against their abusers that would have otherwise been time-barred. Not surprisingly, these
new statute of limitations laws spurred a mass ling of claims against the BSA.


Lawsuits Against BSA for Childhood Sexual Abuse
The explosive sexual abuse scandal in the United States implicates not just the Boy Scouts of America, but also the Catholic Church and other high-pro le
organizations and institutions accused of enabling child sexual abuse, protecting known sexual predators and covering up complaints of abuse for years. These
new laws extending the statute of limitations on sexual abuse claims and the lawsuits that were led as a result of the laws have been cited as the primary reasons
the Boy Scouts of America declared bankruptcy. Hundreds of lawsuits have already been led against the Boy Scouts of America over the past year, all of which
involve similar allegations that the organization ignored and covered up problems with known child sex abusers, allowing the widespread abuse to continue for
decades.


BSA Accused of Covering Up Child Sexual Abuse                                                                                                                  /
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According to the Boy Scouts restructuring website, “ApproximatelyDoc 90% of1166       Filed
                                                                            pending and       08/26/20
                                                                                         asserted abuse claims Page       97BSA
                                                                                                                 against the  of relate
                                                                                                                                  217to abuse that occurred more
than 30 years ago.” Indeed, many of the plaintiffs pursuing legal claims against the Boy Scouts of America are adults who were abused as children by known sexual
predators who worked with the organization. “As our nation’s foremost youth program of character development and values-based leadership training, we have an
important duty to keep children safe, supported and protected while preparing them for their future,” the restructuring website states. Instead of keeping them safe,
however, the BSA is accused of knowing about threats to children and allowing the ongoing abuse to continue for years by burying information about individuals
within the organization who were considered sexual predators in their secret “perversion les.”


Thousands of Boys Reported Sexual Abuse by Scout Leaders, Volunteers
Ultimately, more than 12,200 boys reported experiencing sexual abuse (https://abcnews.go.com/US/12000-boy-scout-members-victims-sexual-abuse-expert/story?
id=62573567) at the hands of at least 7,800 perpetrators who were either troop leaders or volunteers with the Boy Scouts of America between 1944 and 2016, and
for those hoping to recover compensation from the organization, reports of the bankruptcy ling and subsequent compensation program come as mixed news.
Says one survivor, a 58-year-old man who says he was sexually assaulted by two different Scout Masters during his time as a boy scout, “Their mission statement
was to raise boys into ne young men, and they knowingly put boys in harm’s way for decades. I don’t trust an organization like that to curb bad behavior on their
own. They didn’t do this because they suddenly had a crisis of conscience about something they had been covering up for 50 years. It’s because there’s a nancial
hammer coming down on them. I hope that hammer comes down hard.”

Posted Under: Legal (http://www.consumerjusticefoundation.com/news/legal/), News (http://www.consumerjusticefoundation.com/news/)


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  J&J Discontinues Talc-Based Baby Powder Amid Nearly 20,000 Cancer Claims (http://www.consumerjusticefoundation.com/news/jj-discontinues-talc-

  based-baby-powder-amid-nearly-20000-cancer-claims/)

  Federal Judge Assigns More Than Two Dozen Attorneys to Leadership Positions in Zantac Cancer MDL

  (http://www.consumerjusticefoundation.com/news/federal-judge-assigns-more-than-two-dozen-attorneys-to-leadership-positions-in-zantac-cancer-mdl/)




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  1              UNITED STATES BANKRUPTCY COURT

  2                   DISTRICT OF MINNESOTA

  3   --------------------------------------------------

  4   In Re:

  5    The Archdiocese of Saint Paul and Minneapolis,

  6                                   File No. 15-30125

  7   --------------------------------------------------

  8                    BEFORE THE HONORABLE

  9                     ROBERT J. KRESSEL

 10               United States Bankruptcy Judge

 11                           * * *

 12                 TRANSCRIPT OF PROCEEDINGS

 13                     February 23, 2017

 14                           * * *

 15

 16

 17    Proceedings recorded by digitally recording,

 18    transcript prepared by Court Reporting service.

 19

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  1                        APPEARANCES

  2

  3              MR. BENJAMIN E. GURSTELLE, and

  4    MR. CHARLES B. ROGERS, Attorneys at Law,

  5    Suite 2200, 80 South Eighth Street,

  6    Minneapolis, Minnesota 55402 appeared

  7    on behalf of Debtor.

  8

  9             MR. ROBERT T. KUGLER, Attorney

 10    at Law, Suite 2300, 150 South Fifth

 11    Street, Minneapolis, Minnesota 55402,

 12    appeared on behalf of Unsecured

 13    Creditors Committee.

 14

 15

 16              MS. ELIN M. LINDSTROM, Attorney

 17    at Law, Suite 100, 366 Jackson Street,

 18    Saint Paul, Minnesota 55101, appeared on

 19    behalf of Creditors.

 20

 21

 22             MR. DENNIS D. O'BRIEN, Attorney

 23    at Law, Suite 400, 401 Second Avenue

 24    North, Minneapolis, Minnesota 55401,

 25    appeared on behalf of Creditors.

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  1                    APPEARANCES (Cont'd)

  2

  3              MS. MARY JO JENSEN CARTER,

  4    Attorney at Law, 1257 Gun Club Road,

  5    White Bear Lake, Minnesota 55110,

  6    appeared on behalf of Certain Parishes.

  7

  8

  9             MR. JOSHUA WEINBERG, Attorney at

 10    Law, Suite 600, 1875 K Street NW,

 11    Washington, DC 20006, appeared via

 12    telephone on behalf of Hartford

 13    Insurance.

 14

 15

 16             MR. JEFF D. KAHANE, Attorney at

 17    Law, Suite 3100, 865 Figueroa Street,

 18    Los Angeles, California 90017, appeared

 19    via telephone on behalf of London Market.

 20

 21

 22             MR. JAMES A. LODOEN, Attorney at

 23    Law, Suite 4200, 80 South Eighth Street,

 24    Minneapolis, Minnesota 55402 appeared on

 25    behalf of Our Lady of Grace.

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  1                     APPEARANCES (Cont'd)

  2

  3             MS. CONNIE A. LAHN, Attorney at

  4    Law, Suite 2800, 225 South Sixth Street,

  5    Minneapolis, Minnesota 55402, appeared on

  6    behalf of Catholic Mutual Relief Society.

  7

  8

  9             MR. MARK J. KALLA, Attorney at

 10    Law, Suite 2500, 120 South Sixth Street,

 11    Minneapolis, Minnesota 55402, appeared on

 12    behalf of St. Dominic and certain other

 13    parishes.

 14

 15

 16              MS. PAMELA J. TILLMAN, Attorney

 17    at Law, 19th Floor, 111 East Kilbourn

 18    Avenue, Milwaukee, Wisconsin 53202

 19    appeared via telephone on behalf of

 20    TIG Insurance.

 21

 22

 23

 24

 25

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  1                   P R O C E E D I N G S

  2

  3                     THE COURT:   Why is everybody

  4      sitting down there?   Are we actually choosing

  5      up teams?    Is that what we're doing?

  6              There are a couple motions this

  7      morning in the case of the Archdiocese of

  8      Saint Paul and Minneapolis.

  9              I guess I'm going to keep with my

 10      custom of rather than have you pop up and

 11      give appearances, going down my list, will

 12      the attorneys for the Debtor?

 13

 14              (Counsel present noted their appearance)

 15

 16                     THE COURT:   Good morning.

 17              Creditors committee?

 18

 19              (Counsel present noted their appearance)

 20

 21                     THE COURT:   Personal injury

 22      creditors.

 23

 24              (Counsel present noted their appearance)

 25

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  1

  2                     THE COURT:    Parish committee?

  3               Parish group.

  4

  5               (Counsel present noted their appearance)

  6

  7                     THE COURT:    Okay.   Is anyone

  8      appearing here or on the phone for Hartford

  9      insurance?

 10                     MR. WEINBERG:   Good morning,

 11      Your Honor.

 12               Joshua Weinberg on behalf of

 13      Hartford.

 14                     THE COURT:    And London Market

 15      Insurers?

 16                     MR. KAHANE:   Good morning, Your

 17      Honor.

 18               Jeff Kahane on behalf of London

 19      Market Insurers.

 20                     THE COURT:    Thank you.

 21               Is there someone appearing for the

 22      Catholic Finance Corp, Church of St. Thomas

 23      Becket?

 24               Mr. Iannacone?

 25               Anybody appearing for Our Lady of

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  1      Grace?

  2               Okay.   Catholic Mutual Relief

  3      Society, anybody appearing for them?

  4

  5               (Counsel present noted their appearance)

  6

  7                       THE COURT:   The old St.

  8      Margaret's and others?

  9               I've got another page here.

 10               Catholic Services Appeal?

 11      Archdiocese Medical Benefits Plan?     North

 12      American Banking?     Saint Charles Borromeo?

 13      Saint Patrick?    Saint Dominic and Saint

 14      Stevens?   De LaSalle?

 15               Travelers?   Anybody appearing for

 16      Travelers this morning?

 17               Or for TIG Insurance?

 18                       MS. TILLMAN:   On the phone,

 19      Pamela Tillman on behalf of TIG.

 20                       THE COURT:   How about Liberty

 21      Mutual?    Anybody appearing for Liberty

 22      Mutual?

 23               Anybody I've missed.    Anybody

 24      appearing on behalf of somebody who isn't on

 25      my list?

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  1               Okay.   Let's take up first the motion

  2      by the Debtor dealing with the solicitation

  3      procedures and the ballot.

  4                       MR. GURSTELLE:   Good morning,

  5      Your Honor.      Ben Gurstelle on behalf of the

  6      Debtor.

  7               We brought this motion in an effort

  8      to try to kick start the solicitation

  9      process.

 10               A good deal of the proposed order

 11      that we attached to the motion was

 12      negotiated with the UCC and run by the clerk

 13      of court prior to filing the motion.

 14               We filed the motion after

 15      negotiations on some of the remaining issues

 16      kind of stalled out.

 17               We have made actually since filing

 18      the motion a couple more changes to the

 19      proposed order after further discussions

 20      with the UCC.

 21               Those changes are --

 22               Do you have the other copy of the

 23      order?

 24               Paragraph seven of the order, we have

 25      deleted the first sentence which said,

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  1      counsel for holders of class six claims will

  2      converse separately with each client

  3      regarding --

  4                     THE COURT:   I'm sorry.   You're

  5      really mumbling and talking very fast.

  6                     MR. GURSTELLE:   We have deleted

  7      the first sentence which says, counsel for

  8      holders of class six claims will confer

  9      separately with each client regarding the

 10      plans and the client's ballot.

 11              We have deleted that.   We don't think

 12      it's necessary because we believe that it's

 13      an obligation of counsel to do anyway.

 14              Then also in Paragraph 7 we have

 15      changed the power of attorney being executed

 16      by a lawyer to being executed by any

 17      individual with capacity to execute and be a

 18      power of attorney.

 19              So with those changes, we believe the

 20      order is agreeable to the UCC with two

 21      exceptions:    Those are in paragraph two the

 22      30-day timeline to get the solicitation

 23      packages up -- deadline rather, to get the

 24      solicitation packages out the door.

 25              The UCC wants it to be a 20-day

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  1      deadline.

  2              We plan, the Archdiocese plans, to do

  3      this process as quickly as possible.

  4              We want to get the solicitation

  5      packages out the door very, very quickly so

  6      our motivation and intention is to get these

  7      out within 20 days, and hopefully even

  8      sooner, but there are certain aspects of the

  9      process that we do not control entirely.

 10              We just don't want to set ourselves

 11      up for failure in the event that the

 12      packages get out the door on day 21 rather

 13      than day 20.

 14              As the Court knows, this is -- the

 15      solicitation package is going to include

 16      both the Debtor's plan and the Committee's

 17      plan and so we just don't want to set

 18      ourselves up so that all plan proponents are

 19      in violation of the court order so that's

 20      why we have the 20 day -- or 30 day rather

 21      outside deadline rather than 20 days.

 22              One of the issues that we foresee as

 23      being an issue that may require us to take

 24      more time to do it is that we haven't

 25      ordered the flash drives that we plan to put

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  1      the plan that's in the disclosure statements

  2      on yet because we haven't gotten an order

  3      from the Court to do it.

  4              I know that at the last hearing you

  5      indicated that a flash drive would be a good

  6      idea, but this is a very large purchase.     We

  7      have to buy in bulk several hundred flash

  8      drives and it's going to cost approximately

  9      $5,000 to get these flash drives and we just

 10      didn't want to make the purchase until we

 11      had a court order okaying it.    We have been

 12      on shifting sand in this case before.

 13              And also we have as a provision in

 14      the order that we're authorized to serve the

 15      disclosure statement and plans on counsel

 16      for the tort claimants just one flash drive

 17      and then that would be distributed by

 18      counsel for tort claimants to their

 19      respective clients.

 20              If we had to do an individual flash

 21      drive for each claimant that would up our

 22      order significantly by several hundred

 23      drives and so we haven't placed the order

 24      until we have clearance from the Court in a

 25      court order.

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  1              We're going to do that order

  2      immediately upon entry, the order for the

  3      drives immediately upon entry of an order by

  4      this Court and we've taken -- we've already

  5      gotten votes and we have an express delivery

  6      with the drives being preloaded with the

  7      documents that should take approximately ten

  8      days, is what the vendor says, although, you

  9      know, we don't control that and I don't want

 10      to be caught in a situation where we're

 11      rushing and we miss something because we

 12      have a 20-day deadline and we haven't gotten

 13      the drives yet.

 14              The second issue, probably the more

 15      pressing issue as expressed by the

 16      committee, is the inclusion of a convenience

 17      claim election on the ballot.

 18              We think that is the only remaining

 19      issue with the ballot, is whether that

 20      convenience claim is in there.

 21              We acknowledge that Your Honor wants

 22      the ballot to be simple and that the

 23      inclusion of this option adds something

 24      extra to the ballot, but we believe the

 25      inclusion of the convenience option makes

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  1      sense, is efficient and is important for how

  2      this case goes forward.

  3              So why do we think it's necessary?

  4              First we want people to know that

  5      this option for a $10,000 payment pretty

  6      much immediately after confirmation is there

  7      and that they consider that in making their

  8      decision to vote on the plans, and under the

  9      Debtor's plan, making that election now is

 10      how it would work best under our process.

 11              The UCC plan has a different process

 12      for making a convenience election that takes

 13      place later in the process of the tort

 14      reviewing -- tort reviewer in the trust.

 15              Second, we believe strongly that

 16      this --

 17                     THE COURT:   I'm sorry.   If

 18      there are two different processes, how can

 19      you put it on the ballot?

 20              Are you going to put both processes

 21      on, yours and the committee's on the ballot?

 22                     MR. GURSTELLE:   Well, Your

 23      Honor, in reviewing the committee's plan,

 24      it's unclear to us how the convenience

 25      election works for them.

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  1               Our process is that we make the

  2      election as part of your vote and then you

  3      would be entitled to that $10,000 payment

  4      after a really initial cursory review of the

  5      claim and see if there is a prima facie

  6      case.

  7               With the UCC's plan, if they don't

  8      need to have that election made so that that

  9      process can take place and those payments

 10      can be made out, then it doesn't need to be

 11      on the ballot.

 12               If they want to put that on the

 13      ballot as well, I suppose that would be fine

 14      and we would include both elections on the

 15      ballot and both elections would probably

 16      affect how each plan plays out through

 17      confirmation.

 18               We do think it has an affect on

 19      confirmation because it will help in

 20      calculating the amount of money that will go

 21      into the convenience class versus the amount

 22      of money that would go into the full review

 23      part of the class six claimants.

 24               That would affect the per claimant

 25      value.

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  1              So we think it's important and it's

  2      material and it's likely to be important to

  3      many members of the class.

  4              We assume from the UCC --

  5                     THE COURT:   Of course, this is

  6      all in the disclosure statement?

  7                     MR. GURSTELLE:   That's right.

  8                     THE COURT:   You just want to

  9      bring out one little bit of the disclosure

 10      statement and put it on the ballot?

 11                     MR. GURSTELLE:   We do think it

 12      is a material part of how voting would work,

 13      and although it isn't electing into a

 14      separate sub class, it is electing a separate

 15      type of treatment for that claimant and we

 16      think it's important that those claimants be

 17      allowed to make that decision at the outset

 18      and we think that it is material and we

 19      assume from the UCC's opposition to it that

 20      they think it is too.

 21              This is about fairness and openness

 22      in the process, and at a minimum we think

 23      that if that election was included, that the

 24      ballot should include at least a sentence

 25      alerting creditors to the fact they will

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  1      have the option to make that convenience

  2      election.

  3               Ultimately we believe that the

  4      inclusion of this election makes sense.     It

  5      will speed up the process in terms of both

  6      initial distribution and will help the Court

  7      assess the relative merits of the game

  8      plans.

  9               And so why does the UCC oppose it?

 10      They say it will cause confusion and

 11      prejudice.

 12               With respect, we believe it would be

 13      more confusing to have class six claimants

 14      make a determination on voting for the plan

 15      and have to make a second determination

 16      later.

 17               We think that doing it in one place

 18      makes the most sense.   We don't think that

 19      the language in the election is confusing

 20      and we think it will be efficient.

 21               As to alleged prejudice, the UCC

 22      states that making an election would give

 23      insight to Debtor and other parties into the

 24      propensity for settlement in the event that

 25      one of the plans is not confirmed.

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  1               First, the Archdiocese' goal, as it

  2      has always been, is to confirm this plan,

  3      which we believe is fair and achieves a

  4      great result for creditors.

  5               And again with respect, this case has

  6      been in settlement talks for two years and

  7      the parties are vigorously represented.    The

  8      creditors want closure and are willing to

  9      elect a convenience payment to get that

 10      closure.   It's exactly the type of

 11      information that would help get this case

 12      across the finish line.

 13               That's why we want the convenience

 14      election in the ballot.     We think it makes

 15      sense.   It does make sense for at least the

 16      Debtor's plan.   We don't think it's

 17      confusing and we don't think it's

 18      prejudicial.

 19               Other than that, I think the proposed

 20      order has, like I said earlier, been agreed

 21      to by the committee, and if you have any

 22      questions I'll answer them.

 23                     THE COURT:    Mr. Kugler?

 24                     MR. KUGLER:   Thank you, Your

 25      Honor.

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  1               To the ballot issue first, I think

  2      that we all should want a clear and

  3      unambiguous ballot and I think that the

  4      inclusion of the convenience claim election

  5      has the potential to make the ballots

  6      confusing, particularly at the ballot

  7      tabulation stage.

  8               I can envision scenarios where a

  9      party might accept both plans, not check a

 10      box regarding preference and then elect to

 11      have their claim treated as a convenience

 12      claim.

 13               I'm not quite sure how that ballot

 14      would be interpreted.   I'm sure that the

 15      Archdiocese might have an interpretation

 16      that is different than the interpretation

 17      that the committee might have and that's

 18      going to lead to further fights, further

 19      expense, further delay.

 20               Similarly, I could envision a

 21      situation where a claimant rejects both

 22      plans and then does not execute on the box

 23      with a preference but then elects to have

 24      their convenience claim treated as a

 25      convenience claim, the claim treated as a

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  1      convenience claim.

  2               Again, I'm not quite sure what that

  3      would mean, but I know that there would be

  4      multiple interpretations.

  5               I think for that reason alone it

  6      ought to be left off the ballot.    There will

  7      be plenty of time after confirmation for a

  8      convenience claim treatment to be afforded,

  9      folks who want to have their claim treated

 10      in that fashion, and so I think that that

 11      ought to be excluded from the ballot.

 12               With respect to the timing, it seems

 13      like a small nit, Your Honor, but the

 14      committee wants to move forward in this case

 15      quickly.

 16               We didn't ask for 20 days, we asked

 17      for ten days.   We agreed to resolve it at

 18      the 20 days and that was rejected by the

 19      Archdiocese.

 20               I can tell you that the counsel for

 21      the survivors has ordered 500 flash drives.

 22      They ordered them, and for an $80 charge

 23      they got them the next day.

 24               This doesn't take weeks and weeks and

 25      weeks.   They can have the flash drives

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  1      tomorrow and they can load the stuff on.     It

  2      can be ready to go in ten days.

  3               So I'm not sure why there is interest

  4      in delay.   I'm kind of surprised we're here

  5      today.   I thought that after the last

  6      go-round we would have had ballots out by

  7      now and I would urge the Court to require

  8      that the Archdiocese get this stuff out in

  9      the next ten days.

 10               Thank you.

 11                     THE COURT:   Anyone else that's

 12      want's to be heard on this motion?

 13               Did you want to respond at all?

 14               Mr. Gurstelle.

 15                     MR. GURSTELLE:   Thank you, Your

 16      Honor.

 17               Ben Gurstelle again for the Debtor.

 18               Again, we don't think the convenience

 19      class election is confusing.

 20               With respect to the scenario Mr.

 21      Kugler just mentioned, I don't think a

 22      convenience claim election would affect the

 23      situation where no preference is checked on

 24      the two plans.

 25               The convenience claim election is

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  1      about treatment under the Debtor's plan, so

  2      if they had accepted the Debtor's plan, they

  3      accepted treatment as a convenience

  4      claimant, then that's sort of the end of

  5      that story.   I don't think it would be

  6      confusing in tabulation.

  7              With respect to an allegation we're

  8      trying to delay the process, it's just the

  9      opposite.   We brought this motion to jump

 10      start the process and to try to get the

 11      solicitation process lined up and under way.

 12              And again I want to stress that we do

 13      want to do this as quickly as possible.

 14              The only reason we're asking for the

 15      30-day outside deadline is we don't want to

 16      be in violation of the court order on some

 17      technicality.

 18              Thank you.

 19                      THE COURT:   Well, let's turn to

 20      the last one first, the ten or 20 or 30 days.

 21              To describe it as a nit is an

 22      understatement.   I can't believe you're here

 23      either, Mr. Kugler, arguing about that.

 24      You've been working at this for months and

 25      months and the case is over two years old,

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  1      and whether we lose either another ten or 20

  2      days in this process, because after

  3      balloting it's going to go on for months

  4      besides so this little period of time, this

  5      arguing over is beyond silly.

  6              I'll allow the 30 days.

  7              And I understand it might not just be

  8      the drives.   There is a lot of stuff that

  9      can go wrong and a lot of technicalities and

 10      a lot of things to do and I think we need to

 11      allow the Debtor plenty of time to get all

 12      those things done.

 13              So I'll keep the 30 days in.

 14              On the ballot, my view on the ballot

 15      is a ballot is a ballot.    It's not a place

 16      to put disclosure, it's not a place to

 17      solicit.   The solicitation is in the

 18      disclosure statement itself.

 19              It is explained in the disclosure

 20      statement, but the part about the plan is

 21      explained in the plan, their opportunity to

 22      make the election.

 23              Unlike many plans which have a

 24      convenience class, so you need to make the

 25      election as part of the balloting because

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  1      you need to know which class to count the

  2      ballot in, that is not this situation.

  3      You're all in the -- all the victims are in

  4      one class.

  5               So putting that election at that

  6      point it has the potential for confusion and

  7      with no real upside that I can see so I'm

  8      going to deny that part of the Debtor's

  9      motion.

 10               And you can redo the ballot and the

 11      order and submit it, but with that language

 12      taken out of the ballot.

 13               Let's turn to the Debtor's motion,

 14      the area where compliance with bankruptcy

 15      Rule 2019.

 16                      MR. GURSTELLE:   Thank you, Your

 17      Honor.

 18               Ben Gurstelle again for the Debtor.

 19               This is a motion to compel Jeff

 20      Anderson & Associates to comply with Rule

 21      2019 in full.

 22               This motion is all about fairness.

 23      Transparency equates with fairness and the

 24      rule requires it.

 25               Rule 2019 requires that certain

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  1      disclosures are made when an entity such as

  2      a law firm --

  3                      THE COURT:   You're talking

  4      louder, but you're still talking really fast.

  5      Please slow down a little bit.

  6                      MR. GURSTELLE:   I'll slow down.

  7              Rule 2019 requires that an entity

  8      such as a law firm that represents multiple

  9      non-insider creditors who are acting in

 10      concert to advance their common interest

 11      make certain disclosures.

 12              The disclosures are laid out in the

 13      rule and our motion is to have the Anderson

 14      firm comply with that rule.

 15              We don't think that the Anderson firm

 16      has complied with the rule and so we don't

 17      think our motion is moot.

 18              First, the Anderson firm has argued

 19      that the rule does not apply do it because

 20      although it represents 383 tort claimants,

 21      or approximately 85 percent of the class six

 22      claimants, the firm has not represented

 23      these claimants acting in concert.

 24              That assertion, Your Honor, frankly I

 25      think, is impossible to square with reality.

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  1              Since the very beginning of this case

  2      the Anderson firm has appeared at almost

  3      every single hearing on behalf of certain

  4      abuse survivors, never on behalf of any

  5      individual survivor, and they have also

  6      filed many, many motions in this case,

  7      responses, filed an appeal, the subcon

  8      order, all on behalf of certain abuse

  9      survivors, always acting selectively to

 10      advance their common interests.

 11              The only thing that the Anderson firm

 12      has done on behalf of any individual

 13      claimant is file proofs of claim.

 14              So to say that they are not acting on

 15      behalf of creditors in concert to advance

 16      their common interests is just not true.

 17      Clearly the rule applies to the Anderson

 18      firm.

 19              Second, the Anderson firm has argued

 20      that it's met its obligations under Rule

 21      2019 by its submission of a document last

 22      Friday purporting to be a Rule 2019

 23      disclosure.

 24              With respect, this document is not a

 25      proper 2019 disclosure and it doesn't comply

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  1      with the rule.

  2              First, the disclosure does not

  3      explain the facts and circumstances

  4      concerning the formation of the abuse

  5      survivor group as required by Rule

  6      2019(c)(1)(A), so the questions we would

  7      have are was the group as a result of

  8      solicitations by the firm, did it come

  9      together through specific referrals or did

 10      the entire group simply form organically and

 11      then seek to have the entity, the firm,

 12      represent it.

 13              We don't know because it's not

 14      disclosed.

 15              Second, the document does not

 16      disclose the nature or amount of the

 17      Anderson firm's own economic interest in the

 18      outcome of this bankruptcy case as required

 19      by Rule 2019(c)(2)(B).

 20              Now, we assume, but we do not know

 21      for certain because it hasn't been

 22      disclosed, that the Anderson firm may have

 23      various contingency fee arrangements with

 24      its clients, but not all of the Anderson

 25      firm's clients are similarly situated.    Some

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  1      are strong claims, some are weak claims,

  2      some have multiple claims and some are

  3      claims that are just not cognizable.

  4              How does the Anderson firm's own

  5      economic interest in this case affect how

  6      its counsel -- how it will counsel its

  7      clients regarding voting.

  8              Have the Anderson firm's clients been

  9      given informed consent as to possible

 10      conflicts that these differences could lead

 11      to?

 12              We don't know because it hasn't been

 13      disclosed.

 14              And this brings us to the third major

 15      deficiency, which is that Rule 2019 requires

 16      that the disclosure include a copy of any

 17      instruments authorizing that entity to act

 18      on behalf of its client creditors.

 19              Or its creditor clients.

 20              This is very important to us.   It's

 21      very important to the case.

 22              While the Archdiocese is not seeking

 23      the disclosure, we're not seeking the

 24      disclosure of any personally-identifying

 25      information of any of the clients, we don't

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  1      want their names, we don't want their

  2      addresses, we're looking for the information

  3      about the firm's economic interest and the

  4      other information required by Rule 2019.

  5              There is no exception to the rule for

  6      any other part of the disclosure for the

  7      Anderson firm.

  8              It's important that this grievance be

  9      public so that the Court and all parties in

 10      interest may review them in light of the

 11      competing plans and the impending votes to

 12      be passed.

 13              Now, this is especially true because

 14      one of the plans is currently being promoted

 15      and championed by the Anderson firm.

 16              Finally, the Anderson firm has argued

 17      that it's unfair for the Archdiocese to

 18      demand that the Anderson firm make the

 19      disclosure when it hasn't made the same

 20      demands of other firms representing multiple

 21      creditors.

 22              First, the Archdiocese believes that

 23      the rule is the rule and it applies across

 24      the board and that anyone appearing in this

 25      case on behalf of multiple creditors ought

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  1      to comply with it.   The rule is

  2      self-effecting.

  3              So we don't believe that we should

  4      have to make any motion for disclosure in

  5      the first place, but we have made this

  6      motion with respect to the Anderson firm

  7      because, frankly, we think that the Anderson

  8      firm's disclosure is more important.

  9              The Anderson firm has a different

 10      type of interest in this case than other

 11      firms do.

 12              The Anderson firm has its own

 13      disclosable economic interest as defined

 14      under the rule that will be determined by

 15      the outcome of this case.

 16              The term "disclosable economic

 17      interest" includes any other right or

 18      derivative right granting the holder an

 19      economic interest that is affected by the

 20      value, acquisition or disposition of a claim

 21      or interest.

 22              Because its fee arrangements, or we

 23      assume its fee arrangements, the Anderson

 24      firm, unlike other firms, has that interest

 25      and that we believe that it is important to

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  1      know how that will affect the process going

  2      forward.

  3              We think it's appropriate right now

  4      before the solicitation stage to get that

  5      disclosure.

  6              In at least two other diocese cases

  7      that disclosure has been made at or about

  8      the solicitation stage.

  9              And in the Delaware case, the

 10      Wilmington case in Delaware, it was

 11      specifically tied to solicitation.

 12              Your Honor, we're not after the

 13      survivors, we're not after Jeff Anderson.

 14      We are trying to get to transparency and

 15      fairness so that the process can move

 16      forward in a way that is fair to everyone

 17      and that's why we want the disclosure.

 18              Thank you.

 19                     THE COURT:   Okay.

 20              Ms. Lindstrom?

 21                     MS. LINDSTROM:   Good morning,

 22      Your Honor.

 23              Elin Lindstrom on behalf of Jeff

 24      Anderson & Associates.

 25              Mr. Finnegan and Mr. Anderson are

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  1      noticeably absent today.    This is an

  2      important issue to our firm and they were,

  3      unavoidably, out of the state so they

  4      apologize for their absence.

  5               I'm not going to belabor the points

  6      raised in our response memorandum, but there

  7      are a few points raised in the Archdiocese

  8      reply brief that I would like to touch on

  9      today.

 10               Bringing this rule up now can only be

 11      viewed as an attempt to call into question

 12      the integrity of both the voting process and

 13      of our firm's representation of these

 14      survivors.

 15               By focusing on this 2019 disclosure

 16      now, the Archdiocese seems to be setting up

 17      for some potential argument they may have

 18      about our firm's participation in the voting

 19      process if the survivors opt to rejection

 20      the Archdiocese' plan.

 21               The way the Archdiocese has framed

 22      their argument makes it seem like our firm

 23      is voting for our clients on their behalf,

 24      and that is simply not the case.

 25               Our firm is not participating in the

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  1      vote.

  2              We will, as their attorneys, advise

  3      these clients individually based on their

  4      individual circumstances of the risks and

  5      benefits of each plan, and we have a duty

  6      and obligation under the rules of ethics and

  7      under this court to do that.

  8              Based on that advice, it will be our

  9      client who cast the vote, not us.

 10              It is unclear what our retainer

 11      agreement or information in that agreement

 12      has to do with this voting process or what

 13      we would advise our clients about the vote

 14      and the plans.

 15              The Archdiocese seems to even be

 16      going beyond the Rule 19 requirements under

 17      the rule by requesting our fee agreement and

 18      seemingly trying to step into the attorney/

 19      client relationship that we have with our

 20      clients and almost possibly interfering with

 21      our privileged information and privileged

 22      conversations that we have with our clients.

 23              There was a provision in the ballot

 24      order that was stricken by the Archdiocese

 25      regarding us having an obligation to talk to

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  1      our clients.

  2              We know we have that obligation.   We

  3      don't need to be told by the Archdiocese

  4      what to do in this voting process.

  5              We think this is inappropriate.    We

  6      are aware of the rules of ethics and will

  7      continue to comply with those rules.

  8              Further, Your Honor, while we

  9      disagree that this rule applies to our firm,

 10      we have filed a Rule 2019 disclosure, but

 11      the Archdiocese is requesting two additional

 12      requirements under the rule that we just do

 13      not think are applicable here:    First,

 14      regarding a copy of the instrument required

 15      under Rule 2019(c)(4), the type of document

 16      contemplated by this provision in this rule

 17      is not our retainer agreement.

 18              It would be an agreement made between

 19      the claimants to coordinate their actions

 20      and act in concert.

 21              In some cases this may be a power of

 22      attorney.    In some cases it may be a power

 23      of attorney allowing the firm to cast a

 24      proxy vote on behalf of an entire group of

 25      claimants.

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  1              This just does not exist in this

  2      case.

  3              And the Archdiocese has called the

  4      group of survivors exactly that, a group,

  5      that we formed a group of creditors.

  6              As I said of about, each of these

  7      people and survivors is voting individually

  8      and there simply is no group here and there

  9      is no documents giving authority or giving

 10      rise to such a group.

 11              In terms of appearing on the case on

 12      behalf of all the claimants, so far all the

 13      motions in this case, Your Honor, have

 14      applied to all of our claimants.

 15              It simply did not make sense for us

 16      to come up here to the microphone 383 times

 17      or to file 383 pleadings.

 18              Further, Your Honor, the Archdiocese'

 19      contention that Jeff Anderson & Associates

 20      needs to comply and provide its own economic

 21      interests under the 2019 rule is simply --

 22      it's not a requirement under the rule.

 23              The rule actually states that it is a

 24      disclosable economic interest as it relates

 25      to the Debtor.

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  1              Jeff Anderson & Associates has no

  2      economic interest in the Debtor.    We are not

  3      a creditor in this case and we are not a

  4      claimant.

  5              We represent individuals who are

  6      creditors and have economic interests in the

  7      Debtor.

  8                     THE COURT:   You have a huge

  9      economic interest in the case, however,

 10      probably the biggest one.

 11              No one has a bigger economic interest

 12      in the case than you.

 13              "You" being the Anderson firm, not

 14      you personally.

 15                     MS. LINDSTROM:   The Anderson

 16      firm may get paid.   There are other attorneys

 17      in this room that will get paid in this case

 18      and have gotten paid.

 19                     THE COURT:   Well, depending on

 20      what your fee arrangement is, which we don't

 21      know but many of us have speculated is a

 22      contingency, the firm, depending on what plan

 23      is confirmed, stands to collect 20,

 24      $30 million in fees.

 25                     MS. LINDSTROM:   We would

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  1      collect fees, Your Honor.    It is a

  2      contingency basis.

  3              But the Archdiocese --

  4                     THE COURT:   Well, it's a huge

  5      economic interest in the case, like I said,

  6      bigger than anyone else.

  7              No one has a bigger interest than

  8      Anderson & Associates.

  9                     MS. LINDSTROM:    I would

 10      respectfully disagree with Your Honor or with

 11      the Archdiocese that that rule requires us to

 12      disclose our economic interest because, as

 13      again, it says it's as it relates to the

 14      Debtor.

 15              And to insinuate, or the Archdiocese'

 16      insinuation that we will somehow influence

 17      our clients votes in order to up our fees or

 18      our payment is absolutely insulting.

 19              Your Honor, for these reasons, we

 20      would ask to find that Jeff Anderson &

 21      Associates has complied with the Rule 2019

 22      motion.

 23              If, however, the Court is inclined to

 24      grant the Archdiocese further request for

 25      further compliance, we would ask the Court

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  1      to allow us to do it in a way that does not

  2      disclose any of our clients' identifying

  3      information.

  4               I know there are some asbestos cases

  5      where even when exemplars or fee

  6      agreements --

  7               Sorry.   Excuse me, not fee

  8      agreements, but where documents were filed

  9      under seal in court, those were later

 10      unsealed and the identities of those

 11      individuals made public.

 12               So if we are to comply with this

 13      rule, that we can do so in a way that

 14      protects the identities of the survivors,

 15      and also that all the professionals in this

 16      case that fall under this rule also have to

 17      comply.

 18               Thank you.

 19                        THE COURT:   Anyone else want to

 20      be heard on the motion?

 21               Mr. O'Brien.

 22                        MR. O'BRIEN:   Thank you, Your

 23      Honor.

 24               The parish committee did put in a

 25      response simply supporting the 2019 motion

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  1      brought by the Debtor.

  2              I'm not going to argue what the rule

  3      requires.   I have never been faced with

  4      having to deal with this rule when I was on

  5      the bench, not a single time.

  6              I read the rule once and then I put

  7      it down and I picked it up and I read it

  8      again and I read it again and I'm still is

  9      not sure exactly what it means, but I'm sure

 10      you know what it means and I'm sure you're

 11      going to tell us all what it means.

 12              What I want to just briefly talk

 13      about here is the unique nature of this case

 14      and perhaps the way the rule fits in to the

 15      unique nature of this case.

 16              I was some what surprised when I read

 17      the initial response by Mr. Jeff Anderson to

 18      the motion by claiming that this was

 19      motivated by an attempt to intimidate

 20      Mr. Anderson and his firm.

 21              I don't know Mr. Anderson very well,

 22      but in getting to know him in this case, he

 23      impresses me as somebody who is not

 24      intimidated by anything.

 25              And then when the response, the 2019

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  1      was filed, you look at it and there is

  2      absolutely nothing in there that would

  3      intimidate anybody about anything.

  4               So I wonder what else is going on

  5      here.

  6               You know, this is a rather unique

  7      situation in that, as you pointed out and as

  8      has been pointed out by others here, Mr.

  9      Anderson and his firm are the -- they have a

 10      unique position in this case that no other

 11      professional has, and that is that they have

 12      a substantial personal financial interest in

 13      the outcome of this case, a substantial

 14      stake.

 15               Now, if their compliance with the

 16      rule by filing that document that they

 17      filed, if that's the compliance with the

 18      rule, then there needs to be some other, in

 19      my view, transparency here that will satisfy

 20      the integrity of the voting process.

 21               This is not an attempt to interfere

 22      with or to call into question the integrity

 23      of the voting process.

 24               This is an extremely unique situation

 25      where this firm, which has a financial stake

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  1      in this case that is very substantial, is

  2      going to take control and possession of the

  3      ballots of the overwhelming number of

  4      clients that it has and the overwhelming

  5      number of people who make up the unsecured

  6      creditors class.

  7              There is nothing wrong with that, but

  8      under those circumstances it seems to me

  9      that in order to protect, rather than call

 10      into question, the integrity of the process,

 11      there has got to be some sort of perhaps

 12      maybe extraordinary, then, if the rule has

 13      been complied with, some other extraordinary

 14      transparency.

 15              It's not a matter of, well, we don't

 16      trust you or we think you're being evil.

 17      It's the old situation of trust but verify.

 18              You know, there has got to be some

 19      process here that will make up for what is

 20      otherwise not a normal process in a Chapter

 21      11 case.

 22              I would suggest that if other

 23      financial disclosures cannot be or will not

 24      be made in this case, that the ballots of

 25      the unsecured claimants be turned over not

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  1      to Mr. Anderson but to the unsecured

  2      creditors committee.

  3              The unsecured creditors committee

  4      represents these people, as well as

  5      Mr. Anderson does individually, and they

  6      have got a fiduciary responsibility that is

  7      much broader than Mr. Anderson's and there

  8      is no reason in my mind why they can't, why

  9      Mr. Kugler's office cannot fulfill the

 10      responsibility to the unsecured creditors

 11      through the committee by doing the same kind

 12      of handling and securing the votes of these

 13      members that could be done by Mr. Jeff

 14      Anderson.

 15              Again, it's not a matter of

 16      disparaging Mr. Jeff Anderson.    You know,

 17      it's a matter of either recognizing what are

 18      the required procedures and processes in a

 19      situation like this or to come up with some

 20      alternative that protects the integrity of

 21      the voting process.

 22              Thank you.

 23                     THE COURT:   Thank you.

 24              Anyone else?   Anybody else want to be

 25      heard on the motion?

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  1               Mr. Gurstelle.

  2                     MR. GURSTELLE:   Thank you, Your

  3      Honor.

  4               Ben Gurstelle again for the Debtors.

  5               Just a couple of responses.

  6               Number one, I think the rule is clear

  7      and it requires the information that we laid

  8      out in our brief.

  9               Next, the retainer agreement is --

 10                     THE COURT:   Well, let me stop

 11      you there.

 12               Assuming that's true, is there some

 13      reason to require them to disclose how many

 14      clients they have?

 15               I lost track of the number, 200

 16      and --

 17                     MR. GURSTELLE:   How many

 18      claimants?

 19                     THE COURT:   That they

 20      represent.

 21                     MR. GURSTELLE:   383.

 22               We think --

 23                     THE COURT:   You need 383 copies

 24      of the retainer agreement?

 25                     MR. GURSTELLE:   Your Honor, I

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  1      don't think we need every single retainer

  2      agreement if there is a form agreement.

  3               We would want to see, and I think the

  4      rule would require, disclosure of any

  5      different types of retainer agreements that

  6      Mr. Anderson's firm may have.

  7               For example, some of his clients were

  8      retained before this case started and they

  9      had ongoing litigation and some clients

 10      signed up well into the course of this case.

 11               There may be different retainer

 12      agreements for those types of clients with

 13      different fee arrangements.

 14               We think the retainer agreement is

 15      absolutely contemplated by the rule and has

 16      set out in the Baron & Budd case that we

 17      cited.

 18               It's not a confidential document,

 19      it's a document that is required to be

 20      disclosed by the rule and there is a

 21      discussion of that in Baron & Budd.

 22               And it is important for the Court to

 23      know the fee arrangement for the Anderson

 24      firm because, as the Court pointed out, the

 25      Anderson firm does have a distinct economic

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  1      interest in the outcome of the case and it

  2      is a disclosable economic interest as

  3      defined in Part A of the rule and it is

  4      dependent on how these claims turn out.

  5              You know, I can envision a situation

  6      where the Anderson firm may believe that it

  7      can get more money for the firm in a

  8      situation where the case is dismissed or

  9      where litigation ensues and that certain

 10      claimants may do better in that situation

 11      but certain claimants may not and that gives

 12      rise to potential conflicts of interest.

 13              Can those conflicts be waived?

 14      Perhaps.   But it's important that the Court

 15      and other parties in interest who are

 16      invested in the solicitation process know

 17      that.

 18              So we believe that it's very

 19      important that the rule be complied with.

 20              Then as to Mr. O'Brien's comments, I

 21      don't think we have a position on that, but

 22      I do think that whether or not the ballots

 23      go to the committee or to the Anderson firm,

 24      the rule requires disclosure and it should

 25      be complied with.

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  1              Thank you.

  2                     THE COURT:   Ms. Lindstrom?

  3              Well, actually I would like you to

  4      step up.    I just have a question or two to

  5      ask you.

  6              Just generically, without talking

  7      about any individual client, how many

  8      different forms of retainer agreements would

  9      you have?

 10              I'm guessing they are virtually

 11      identical for most of them.

 12                     MS. LINDSTROM:   Most of them

 13      are virtually identical.    I can't say for

 14      certain how many different examples we have

 15      to date.    I think most of them are the same,

 16      though.

 17                     THE COURT:   Thank you.

 18              Well, as to the why this is here now,

 19      I mean we've nibbled around the edge of this

 20      for two years.   I mean this is not a new

 21      issue and the rule, to use the word of the

 22      Debtor, is self-effectuating.

 23              We don't need an order.   The Anderson

 24      firm should have complied with it two years

 25      ago and they should have complied with it a

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  1      year ago and six months ago.

  2              The fact that we're here now on the

  3      motion doesn't mean they no longer have to

  4      comply with the rule, so I think they have

  5      to comply, it has to comply with the rule.

  6              If there is some sort of insult there

  7      or distrust there, it's a distrust by the

  8      Supreme Court who promulgated the rule, not

  9      by the parties here or me.    The rule is the

 10      rule is the rule.

 11              And you might speculate that there is

 12      some cynicism, if not distrust, behind the

 13      rule of disclosure.

 14              I really dislike the current trendy

 15      word "transparency", but it's sort of

 16      applicable here.

 17              Bankruptcy sort of operates on

 18      everybody knowing what's going on, me in

 19      particular, but everybody knowing what's

 20      going on, and this is one of those elements

 21      that people, at least the Supreme Court

 22      thought everyone should know.

 23              So I think the Anderson firm must

 24      comply with the rule.

 25              One, it needs to be verified.    That's

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  1      easily taken care of.

  2              It wasn't.   The thing that you filed

  3      wasn't verified.     The rule certainly

  4      requires that.

  5              I'm sorry.   I just give no credence

  6      to the suggestion that they are not acting

  7      in concert.   Clearly you are.

  8              I mean you may not have set out to

  9      create a group, but you have a group.     You

 10      have a group of clients who are acting in

 11      concert through you, and the Anderson firm

 12      is the representative of 383 people and the

 13      rule, this is exactly the situation it's

 14      designed to -- or one of the many situations

 15      the rule is designed to tend to.

 16              And I read the rule clearly as well,

 17      and I think one of the important points of

 18      the rule is to disclose the economic

 19      interest in the case, what does the

 20      representative have to gain.     That's the

 21      point of the rule here.

 22              So for whatever reasons we can

 23      understand that there are different

 24      interests or different motivations or just

 25      different things going on, and so we need to

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  1      know that.    That's something the entire body

  2      of people, the court and lawyers need to

  3      understand.

  4              So I'm going to order among the

  5      things that I think you --

  6              And I think sort of one of the other

  7      things of the group and one of the unique

  8      dynamics of this case from the beginning has

  9      been the Anderson firm represents a majority

 10      of the members of the creditors committee,

 11      so it's certainly my perspective of this

 12      case that Jeff Anderson has been the

 13      creditors committee.

 14              That's sort of the dynamic here

 15      that's at work here and so it makes it all

 16      the more important, it seems to me, that

 17      this rule be complied with.

 18              So I think you need to go back and

 19      comply with the rule.

 20              Obviously no one has asked for and

 21      I'm certainly not going to include the

 22      requirement to disclose any names.

 23              I think the list that you've done

 24      with the name by claimant number is perfect,

 25      but I think you also have to disclose the

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  1      fee arrangement with each of those clients,

  2      whether it's hourly or contingent, includes

  3      costs and expenses, whatever, so that we can

  4      know what it is for each one of those

  5      clients.

  6              And that would include --

  7              And the reason I ask, I was hoping

  8      this wasn't going to be too onerous, but I

  9      don't want you to -- clearly don't want to

 10      file the actual retainer agreements with

 11      anybody's name in them, but somehow it seems

 12      to me you should be able to have exemplars

 13      that say here is the retainer agreement

 14      exactly in this form that was signed with

 15      claimants number one, two, three, four, 16,

 16      18, 20, whatever, and if there is another

 17      one, these five people signed this different

 18      retainer agreement, so that at least we can

 19      look at them and figure out what the fee

 20      arrangement is and other arrangements for

 21      representation are with each one of your

 22      clients.

 23              Did I cover what we're looking for

 24      here?

 25              I mean you need a little bit of time.

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  1      I'll give you about maybe a week from

  2      tomorrow as the deadline to comply with the

  3      order.

  4               [UNINTELLIGIBLE]

  5               I can pick Friday because then you

  6      can't make your staff work on weekends.

  7               [UNINTELLIGIBLE]

  8               Sure.   Now it's gotten longer.   It's

  9      not the following Monday, it's the following

 10      Thursday?

 11               [UNINTELLIGIBLE]

 12               Okay.   Two weeks from today.

 13

 14                            * * *

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

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  1   STATE OF MINNESOTA)

  2                          ss.

  3   COUNTY OF DAKOTA   )

  4

  5        BE IT KNOWN, that I transcribed the digitally

  6   recorded proceedings held at the time and place set

  7   forth herein;

  8

  9        That the proceedings were recorded

 10   electronically and stenographically transcribed

 11   into typewriting, that the transcript is a true

 12   record of the proceedings, to the best of my

 13   ability;

 14

 15        That I am not related to any of the parties

 16   hereto nor interested in the outcome of the action;

 17

 18

 19        IN EVIDENCE HEREOF, WITNESS MY HAND AND SEAL.

 20

 21

 22

 23                                ______________________

 24                                   NEIL K. JOHNSON

 25

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                                      UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF MINNESOTA


  In re:
                                                                                    BKY 15-30125
  The Archdiocese of Saint Paul and
  Minneapolis,
                                                                                        Chapter 11
                                   Debtor.


                                                  ORDER



             This case is before the court on the debtor’s motion for an order requiring compliance

  with Rule 2019 of the Federal Rules of Bankruptcy Procedure.

             Based on the motion and file,

              IT IS ORDERED:

             On or before March 9, 2017, Jeff Anderson and Associates, P.A., shall comply with the

  provisions of Federal Rule of Bankruptcy Procedure 2019 by filing a

  verified disclosure containing the following:

             A.         A complete copy of each form of retainer agreement, fee agreement,

  engagement agreement, referral agreement and all other applicable agreements authorizing the

  Anderson Firm to act on behalf of a creditor in this case or providing in any way for the payment

  of the Anderson Firm’s fees and costs, including all amendments and modification to any such

  agreements. The Anderson Firm shall provide exemplar copies of each version of the actual

  signed agreements entered into with creditors in this case. The Anderson Firm may redact the

  personally identifying information of those creditor clients from such agreements but may not


NOTICE OF ELECTRONIC ENTRY AND
FILING ORDER OR JUDGMENT
Filed and Docket Entry made on 02/27/2017            1
Lori Vosejpka, Clerk, by LH
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redact any other information. The disclosure shall further set forth by claimant number which

exemplar agreements apply to each client.

       B.     All other information and disclosures required by Fed. R. Bankr. P. 2019.



Dated: February 27, 2017                     __________________________________________
                                            /e/ Robert J. Kressel
                                             Robert J. Kressel
                                             United States Bankruptcy Judge




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK

         THE ARCHDIOCESE OF NEW YORK,

                         Plaintiff,

         against

         INSURANCE COMPANY OF NORTH AMERICA,
         AGCS MARINE INSURANCE COMPANY (F/K/A
         INTERSTATE INDEMNITY COMPANY), AIU
         INSURANCE COMPANY, AMERICAN EMPIRE
         SURPLUS LINES INSURANCE COMPANY (F/K/A
         GREAT AMERICAN SURPLUS LINES INSURANCE
         COMPANY), ARROWOOD INDEMNITY COMPANY
         (SUCCESSOR-IN-INTEREST TO ROYAL INDEMNITY
         COMPANY AND F/K/A ROYAL INSURANCE
         COMPANY OF AMERICA), CONTINENTAL
         INSURANCE COMPANY (SUCCESSOR-IN-INTEREST
         TO FIDELITY AND CASUALTY COMPANY OF NEW
         YORK AND NIAGARA FIRE INSURANCE                   Index No.:
         COMPANY), EXECUTIVE RISK INDEMNITY INC.
         (SUCCESSOR-IN-INTEREST TO AMERICAN EXCESS         Date Summons filed: June 28,
         INSURANCE COMPANY), FEDERAL INSURANCE             2019
         COMPANY, FIREMAN’S FUND INSURANCE
         COMPANY, FIRST STATE INSURANCE COMPANY,                        SUMMONS
         GREAT AMERICAN ASSURANCE COMPANY (F/K/A
         AGRICULTURAL INSURANCE COMPANY), GREAT
         AMERICAN INSURANCE COMPANY OF NEW YORK
         (F/K/A AMERICAN NATIONAL FIRE INSURANCE
         COMPANY), GREAT NORTHERN INSURANCE
         COMPANY, HARTFORD UNDERWRITERS
         INSURANCE COMPANY (F/K/A NEW YORK
         UNDERWRITERS INSURANCE COMPANY),
         HUDSON INSURANCE COMPANY, INDEMNITY
         INSURANCE COMPANY OF NORTH AMERICA
         (F/K/A INA INSURANCE COMPANY), LEXINGTON
         INSURANCE COMPANY, CERTAIN LONDON
         MARKET COMPANIES, MARKEL AMERICAN
         INSURANCE COMPANY, MUNICH REINSURANCE
         AMERICA (F/K/A AMERICAN RE-INSURANCE
         COMPANY), NATIONAL FIRE INSURANCE
         COMPANY OF HARTFORD (SUCCESSOR-IN-
         INTEREST TO TRANSCONTINENTAL INSURANCE
         COMPANY), NATIONAL SURETY CORPORATION,
         NATIONAL UNION FIRE INSURANCE COMPANY OF




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         PITTSBURGH, PA (SUCCESSOR-IN-INTEREST TO
         LANDMARK INSURANCE COMPANY), OHIO
         CASUALTY INSURANCE COMPANY, PACIFIC
         EMPLOYERS INSURANCE COMPANY, ST. PAUL
         SURPLUS LINES INSURANCE COMPANY, TIG
         INSURANCE COMPANY (SUCCESSOR-IN-INTEREST
         TO INTERNATIONAL INSURANCE COMPANY),
         TWIN CITY FIRE INSURANCE COMPANY, CERTAIN
         UNDERWRITERS AT LLOYD’S, LONDON,
         WESTCHESTER FIRE INSURANCE COMPANY, and
         VIGILANT INSURANCE COMPANY,

                                        Defendants.

         TO THE ABOVE NAMED DEFENDANTS:

                  YOU ARE HEREBY SUMMONED to answer the attached complaint of the Plaintiff in

         this action and to serve a copy of your answer on the Plaintiff’s attorneys at the address stated

         below.

                  If this summons was personally delivered to you in the State of New York, you must

         serve the answer within 20 days after service, excluding the day of service. If this summons was

         not personally delivered to you in the State of New York, you must serve the answer within 30

         days after service of the summons is complete, as provided by law.

                  If you do not serve an answer to the attached complaint within the applicable time

         limitation stated above, a judgment may be entered against you, by default, for the relief

         demanded in the complaint.

                  The Plaintiff designates New York County as the place of trial.

                  The basis of venue is that one or more Defendants reside in New York County within the

         meaning of CPLR § 503.




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             Dated:           New        York,          New         York                            BLANK              ROME                    LLP
                              June       28,         2019




                                                                                                    By:

                                                                                                          James          R.         Murray
                                                                                                          Jared         Zola

                                                                                                          Robyn              L.     Michaelson

                                                                                                          1271         Avenue                  of    the     Americas

                                                                                                          New          York,             New          York        10020

                                                                                                          Telephone:                     (212)         885-5209

                                                                                                          Facsimile:
                                                                                                                                     (917)            591-8538

                                                                                                          jmurray@blankrome.com
                                                                                                           zola@blankrome.com
                                                                                                          rmichaelson@blankrome.com


                                                                                                          James          S.       Carter

                                                                                                          ( pro        hac        vice         application              to

                                                                                                          1825         Eye          Street           NW
                                                                                                          Washington,                        DC       20006
                                                                                                          Telephone:                     (202)         420-3409

                                                                                                          Facsimile:
                                                                                                                                     (202)            420-2201

                                                                                                          iscarter@blankrome.com



                                                                                                          Counsel             for        the        Archdiocese




                      TO:

                      AGCS           Marine             Insurance            Company
                      225     W.     Washington                     Street

                      Suite       1800

                      Chicago,            Illinois          60606


                      AlU        Insurance              Company
                      175     Water            Street                        3 of 27
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            251 Little Falls Drive
            Wilmington, Delaware 19808
            Continental Insurance Company
            100 Matsonford Road, Suite 200
            Radnor, Pennsylvania 19087
            Executive Risk Indemnity Inc.
            c/o CT Corporation System
            1209 Orange Street
            Wilmington, Delaware 19801

            Federal Insurance Company
            c/o CT Corporation System
            150 West Market Street, Suite 1800
            Indianapolis, Indiana 46204
            Fireman’s Fund Insurance Company
            c/o CT Corporation System
            818 W 7th Street, Suite 930
            Los Angeles, California 90017
            First State Insurance Company
            c/o CT Corporation System
            67 Burnside Avenue
            East Hartford, Connecticut 06106
            Great American Assurance Company
            301 East 4th Street
            Cincinnati, Ohio 45202
            Great American Insurance Company of New York
            301 East 4th Street, 24th Floor
            Cincinnati, Ohio 45202
            Great Northern Insurance Company
            c/o CT Corporation System
            150 West Market Street, Suite 1800
            Indianapolis, Indiana 46204
            Hartford Underwriters Insurance Company
            c/o CT Corporation System
            67 Burnside Avenue
            East Hartford, Connecticut 06108
            Hudson Insurance Company
            c/o The Corporation Trust Company



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            1209 Orange Street
            Wilmington, Delaware 19801
            Certain Underwriters at Lloyd’s, London
            c/o Mendes & Mount
            750 Seventh Avenue
            New York, New York 10019
            Indemnity Insurance Company of North America
            c/o CT Corporation System
            600 North 2nd Street, Suite 401
            Harrisburg, Pennsylvania 17101
            Insurance Company of North America
            c/o CT Corporation System
            600 North 2nd Street, Suite 401
            Harrisburg, Pennsylvania 17101
            Lexington Insurance Company
            c/o Corporation Service Company
            251 Little Falls Drive
            Wilmington, Delaware 19808
            Lexington Insurance Company
            Counsel, Legal Department
            200 State Street
            Boston, Massachusetts 02109
            Certain London Market Companies
            c/o Mendes & Mount
            750 Seventh Avenue
            New York, New York 10019
            Markel American Insurance Company
            c/o Richard R. Grinnan
            4521 Highwoods Parkway
            Glen Allen, Virginia 23060
            Munich Reinsurance America
            c/o Corporate Service Company
            251 Little Falls Drive
            Wilmington, Delaware 19808
            National Fire Insurance Company of Hartford
            151 N. Franklin Street
            Chicago, Illinois 60606




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            National Surety Corporation
            225 W. Washington Street, Suite 1800,
            Chicago, Illinois 60606
            National Union Fire Insurance Company of Pittsburgh, PA
            c/o Corporation Service Company
            2595 Interstate Drive, Suite 103
            Harrisburg, Pennsylvania 17110
            Ohio Casualty Insurance Company
            c/o Corporation Service Company
            10 Ferry Street, Suite 313
            Concord, New Hampshire 03301
            Pacific Employers Insurance Company
            c/o CT Corporation System
            600 North 2nd Street, Suite 401
            Harrisburg, Pennsylvania 17101
            St. Paul Surplus Lines Insurance Company
            c/o The Prentice-Hall Corporation System, Inc.
            251 Little Falls Drive
            Wilmington, Delaware 19808
            St. Paul Surplus Lines Insurance Company
            c/o Nicholas Seminara, President
            445 Minnesota Street, Suite 900
            St. Paul, Minnesota 55101
            TIG Insurance Company
            c/o CT Corporation System
            818 West Seventh Street, Suite 930
            Los Angeles, California 90017
            Twin City Fire Insurance Company
            c/o CT Corporation System
            150 West Market Street, Suite 800
            Indianapolis, Indiana 46204
            Westchester Fire Insurance Company
            c/o CT Corporation System
            600 North 2nd Street, Suite 401
            Harrisburg, Pennsylvania 17110
            Vigilant Insurance Company
            55 Water Street
            New York, New York 10041


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        SUPREME COURT OF THE STATE OF NEW YORK
        COUNTY OF NEW YORK

        THE ARCHDIOCESE OF NEW YORK,

                        Plaintiff,                    Index No.

        against                                       COMPLAINT

        INSURANCE COMPANY OF NORTH                    JURY TRIAL REQUESTED
        AMERICA, AGCS MARINE INSURANCE
        COMPANY (F/K/A INTERSTATE INDEMNITY
        COMPANY), AIU INSURANCE COMPANY,
        AMERICAN EMPIRE SURPLUS LINES
        INSURANCE COMPANY (F/K/A GREAT
        AMERICAN SURPLUS LINES INSURANCE
        COMPANY), ARROWOOD INDEMNITY
        COMPANY (SUCCESSOR-IN-INTEREST TO
        ROYAL INDEMNITY COMPANY AND F/K/A
        ROYAL INSURANCE COMPANY OF
        AMERICA), CONTINENTAL INSURANCE
        COMPANY (SUCCESSOR-IN-INTEREST TO
        FIDELITY AND CASUALTY COMPANY OF
        NEW YORK AND NIAGARA FIRE INSURANCE
        COMPANY), EXECUTIVE RISK INDEMNITY
        INC. (SUCCESSOR-IN-INTEREST TO
        AMERICAN EXCESS INSURANCE COMPANY),
        FEDERAL INSURANCE COMPANY,
        FIREMAN’S FUND INSURANCE COMPANY,
        FIRST STATE INSURANCE COMPANY, GREAT
        AMERICAN ASSURANCE COMPANY (F/K/A
        AGRICULTURAL INSURANCE COMPANY),
        GREAT AMERICAN INSURANCE COMPANY
        OF NEW YORK (F/K/A AMERICAN NATIONAL
        FIRE INSURANCE COMPANY), GREAT
        NORTHERN INSURANCE COMPANY,
        HARTFORD UNDERWRITERS INSURANCE
        COMPANY (F/K/A NEW YORK
        UNDERWRITERS INSURANCE COMPANY),
        HUDSON INSURANCE COMPANY,
        INDEMNITY INSURANCE COMPANY OF
        NORTH AMERICA (F/K/A INA INSURANCE
        COMPANY), LEXINGTON INSURANCE
        COMPANY, CERTAIN LONDON MARKET
        COMPANIES, MARKEL AMERICAN
        INSURANCE COMPANY, MUNICH
        REINSURANCE AMERICA (F/K/A AMERICAN




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        RE-INSURANCE COMPANY), NATIONAL FIRE
        INSURANCE COMPANY OF HARTFORD
        (SUCCESSOR-IN-INTEREST TO
        TRANSCONTINENTAL INSURANCE
        COMPANY), NATIONAL SURETY
        CORPORATION, NATIONAL UNION FIRE
        INSURANCE COMPANY OF PITTSBURGH, PA
        (SUCCESSOR-IN-INTEREST TO LANDMARK
        INSURANCE COMPANY), OHIO CASUALTY
        INSURANCE COMPANY, PACIFIC
        EMPLOYERS INSURANCE COMPANY, ST.
        PAUL SURPLUS LINES INSURANCE
        COMPANY, TIG INSURANCE COMPANY
        (SUCCESSOR-IN-INTEREST TO
        INTERNATIONAL INSURANCE COMPANY),
        TWIN CITY FIRE INSURANCE COMPANY,
        CERTAIN UNDERWRITERS AT LLOYD’S,
        LONDON, WESTCHESTER FIRE INSURANCE
        COMPANY, and VIGILANT INSURANCE
        COMPANY,

                           Defendants.

               Plaintiff the Archdiocese of New York (the “Archdiocese”), by and through its attorneys,

        brings this Complaint against Insurance Company of North America (“INA”), AGCS Marine

        Insurance Company (f/k/a Interstate Indemnity Company), AIU Insurance Company (“AIU”),

        American Empire Surplus Lines Insurance Company (f/k/a Great American Surplus Lines Insurance

        Company) (“American Empire”), Arrowood Indemnity Company (successor-in-interest to Royal

        Indemnity Company and f/k/a Royal Insurance Company of America) (“Arrowood Indemnity”),

        Continental Insurance Company (successor-in-interest to Fidelity and Casualty Company of New York

        and Niagara Fire Insurance Company) (“Continental”), Executive Risk Indemnity Inc. (successor-in-

        interest to American Excess Insurance Company) (“Executive Risk”), Federal Insurance Company

        (“Federal”), Fireman’s Fund Insurance Company (“Fireman’s Fund”), First State Insurance Company

        (“First State”), Great American Assurance Company (f/k/a Agricultural Insurance Company) (“Great

        American Assurance”), Great American Insurance Company of New York (f/k/a American National

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        Fire Insurance Company), Great Northern Insurance Company (“Great Northern”), Hartford

        Underwriters Insurance Company (f/k/a New York Underwriters Insurance Company) (“Hartford

        Underwriters”), Hudson Insurance Company (“Hudson”), Indemnity Insurance Company of North

        America (f/k/a INA Insurance Company) (“IINA”), Lexington Insurance Company (“Lexington”),

        certain London Market Companies, Markel American Insurance Company (“Markel”), Munich

        Reinsurance America (f/k/a American Re-Insurance Company) (“Munich Re”), National Fire

        Insurance Company of Hartford (successor-in-interest to Transcontinental Insurance Company)

        (“National Fire”), National Surety Corporation (“National Surety”), National Union Fire Insurance

        Company of Pittsburgh, PA (successor-in-interest to Landmark Insurance Company) (“National

        Union”), Ohio Casualty Insurance Company (“Ohio Casualty”), Pacific Employers Insurance

        Company (“Pacific Employers”), St. Paul Surplus Lines Insurance Company, TIG Insurance Company

        (successor-in-interest to International Insurance Company) (“TIG”), Twin City Fire Insurance

        Company (“Twin City”), certain Underwriters at Lloyd’s, London, Westchester Fire Insurance

        Company (“Westchester Fire”), and Vigilant Insurance Company (“Vigilant”) (collectively, the

        “Insurers”), and alleges as follows:


                                                   BACKGROUND

                       1.      This is a civil action for declaratory judgment and breach of contract relating to

        the Insurers’ obligations pursuant to their respective insurance policies to provide coverage for claims

        and lawsuits against the Archdiocese based on allegations of childhood sexual abuse and to assist in

        compensating alleged victim-survivors.

                       2.      The insurance coverage issues raised in this case not only affect the

        Archdiocese, but also other religious organizations, schools, hospitals, and other institutions

        throughout the State of New York. The resolution of such issues could significantly impact the ability

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        of such organizations to continue their operations and, at the same time, provide meaningful

        compensation to sexual abuse survivors.

                       3.     On February 14, 2019, Governor Andrew Cuomo of New York signed into law

        the Child Victims Act (“CVA”). The CVA revives liability for claims based on sexual abuse that were

        previously barred by the statute of limitations. The CVA opens a one-year “window” for claimants to

        commence civil actions alleging revived sexual abuse claims. The “window” in New York opens in

        August 2019.

                       4.     Prior to the enactment of the CVA, the Archdiocese undertook significant efforts

        to address allegations of sexual abuse. As part of these efforts, the Archdiocese announced in 2016 its

        Independent Reconciliation and Compensation Program (“IRCP”).                 Through the IRCP, the

        Archdiocese addressed the allegations of sexual abuse of more than 300 victim-survivors of abuse.

                       5.     Despite these efforts, the Archdiocese is among the many institutions in New

        York that face potential liability due to the CVA for revived sexual abuse claims. The CVA permits

        claimants who did not participate in the Archdiocese’s IRCP to bring revived claims and suits against

        the Archdiocese alleging that the Archdiocese is liable for damages stemming from its purported

        negligence based on alleged sexual abuse of minors by clergy members. Although the “window” has

        not opened, alleged victim-survivors have prematurely begun filing petitions and/or lawsuits against

        the Archdiocese, which will become effective once the “window” opens.

                       6.     The Archdiocese purchased liability insurance policies from the Insurers, paying

        premiums over the years. The Insurers are obligated to provide coverage to the Archdiocese and other

        insureds under the liability policies for claims and lawsuits alleging sexual abuse and physical abuse.

                       7.     On information and belief, the Insurers, however, intend to dispute, limit, and/or

        deny coverage for claims and lawsuits alleging sexual abuse and physical abuse alleged against the

        Archdiocese, and certain Insurers have informed the Archdiocese that they intend to raise numerous
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        defenses to providing coverage.

                                                    THE PARTIES

                        8.     The Archdiocese has been in existence since 1808 when it was canonically

        established as an unincorporated Catholic diocese by the Holy See of the Roman Catholic Church.

        Later established as an archdiocese by the Holy See, the Archdiocese of New York was incorporated

        under the New York Religious Corporations Law in 1981. The Archdiocese is comprised of ten

        counties—New York, Bronx, and Richmond counties in New York City and seven counties in the

        northern suburbs: Westchester, Rockland, Orange, Putnam, Dutchess, Ulster, and Sullivan counties.

        There are numerous separate not-for-profit corporations within the geographical boundaries of the

        Archdiocese that engage in religious, charitable and educational activities. These services range from

        hospital and medical care to helping homeless families with meals, emergency shelter, and affordable

        housing.   Approximately 300 incorporated parishes and approximately 200 schools operate and

        provide services within this region, as well.

                        9.     Upon information and belief, Interstate Indemnity Company changed its name to

        AGCS Marine Insurance Company, which is a corporation organized under the laws of Illinois with its

        principal place of business in Chicago, Illinois and is licensed to operate in the State of New York.

        Upon information and belief, Interstate Indemnity Company sold insurance policies providing

        coverage to the Archdiocese in New York for certain time frames during which the victim-survivors

        allege abuse.

                        10.    Upon information and belief, AIU is a corporation organized under the laws of

        New York with its principal place of business in New York, New York. Upon information and belief,

        AIU is licensed to operate in the State of New York and sold insurance policies providing coverage to

        the Archdiocese in New York for certain time frames during which the victim-survivors allege abuse.

                        11.    Upon information and belief, Great American Surplus Lines Insurance Company
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        changed its name to American Empire, which is a corporation organized under the laws of Delaware

        with its principal place of business in Cincinnati, Ohio. Upon information and belief, Great American

        Surplus Lines Insurance Company sold insurance policies providing coverage to the Archdiocese in

        New York for certain time frames during which the victim-survivors allege abuse.

                      12.     Upon information and belief, Royal Indemnity Company merged into, and

        Royal Insurance Company of America changed its name to, Arrowood Indemnity, which is a

        corporation organized under the laws of Delaware with its principal place of business in Charlotte,

        North Carolina and is licensed to operate in the State of New York. Upon information and belief,

        Royal Indemnity Company and Royal Insurance Company of America sold insurance policies

        providing coverage to the Archdiocese in New York for certain time frames during which the victim-

        survivors allege abuse.    Arrowood Indemnity is a member of the Chubb Group of Insurance

        Companies.

                      13.     Upon information and belief, Fidelity and Casualty Company of New York and

        Niagara Fire Insurance Company merged into Continental, which is a corporation organized under the

        laws of Pennsylvania with its principal place of business in Chicago, Illinois and is licensed to operate

        in the State of New York. Upon information and belief, Fidelity and Casualty Company of New York

        and Niagara Fire Insurance Company sold insurance policies providing coverage to the Archdiocese in

        New York for certain time frames during which the victim-survivors allege abuse.

                      14.     Upon information and belief, Executive Risk is a corporation organized under

        the laws of Delaware with its principal place of business in Wilmington, Delaware. Upon information

        and belief, Executive Risk is licensed to operate in the State of New York and is a successor-in-interest

        to Executive Re Indemnity Inc., which is a successor-in-interest to ERIC Reinsurance Company, which

        is a successor-in-interest to American Excess Insurance Company, which sold insurance policies

        providing coverage to the Archdiocese in New York for certain time frames during which the victim-
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        survivors allege abuse. Executive Risk is a member of the Chubb Group of Insurance Companies.

                        15.   Upon information and belief, Federal is a corporation organized under the laws

        of Indiana with its principal place of business in Indianapolis, Indiana. Upon information and belief,

        Federal is licensed to operate in the State of New York, and sold insurance policies providing coverage

        to the Archdiocese in New York for certain time frames during which the victim-survivors allege

        abuse. Federal is a member of the Chubb Group of Insurance Companies.

                        16.   Upon information and belief, Fireman’s Fund is a corporation organized under

        the laws of California with its principal place of business in Chicago, Illinois. Upon information and

        belief, Fireman’s Fund sold insurance policies providing coverage to the Archdiocese in New York for

        certain time frames during which the victim-survivors allege abuse.

                        17.   Upon information and belief, First State is a corporation organized under the

        laws of Connecticut with its principal place of business in Boston, Massachusetts. Upon information

        and belief, First State sold insurance policies providing coverage to the Archdiocese in New York for

        certain time frames during which the victim-survivors allege abuse.

                        18.   Upon information and belief, Agricultural Insurance Company changed its name

        to Great American Assurance, which is a corporation organized under the laws of Ohio with its

        principal place of business in Cincinnati, Ohio and is licensed to operate in the State of New York.

        Upon information and belief, Agricultural Insurance Company sold insurance policies providing

        coverage to the Archdiocese in New York for certain time frames during which the victim-survivors

        allege abuse.

                        19.   Upon information and belief, American National Fire Insurance Company

        changed its name to Great American Insurance Company of New York, which is a corporation

        organized under the laws of New York with its principal place of business in Cincinnati, Ohio. Upon

        information and belief, American National Fire Insurance Company sold insurance policies providing
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        coverage to the Archdiocese in New York for certain time frames during which the victim-survivors

        allege abuse.

                        20.   Upon information and belief, Great Northern is a corporation organized under

        the laws of Indiana with its principal place of business in Indianapolis, Indiana. Upon information and

        belief, Great Northern is licensed to operate in the State of New York, and sold insurance policies

        providing coverage to the Archdiocese in New York for certain time frames during which the victim-

        survivors allege abuse. Great Northern is a member of the Chubb Group of Insurance Companies.

                        21.   Upon information and belief, New York Underwriters Insurance Company

        changed its name to Hartford Underwriters, which is a corporation organized under the laws of

        Connecticut with its principal place of business in Hartford, Connecticut and is licensed to operate in

        the State of New York. Upon information and belief, New York Underwriters Insurance Company

        sold insurance policies providing coverage to the Archdiocese in New York for certain time frames

        during which the victim-survivors allege abuse.

                        22.   Upon information and belief, Hudson is a corporation organized under the laws

        of Delaware with its principal place of business in New York, New York. Upon information and

        belief, Hudson is licensed to operate in the State of New York and sold insurance policies providing

        coverage to the Archdiocese in New York for certain time frames during which the victim-survivors

        allege abuse.

                        23.   Upon information and belief, INA Insurance Company changed its name to

        IINA, which is a corporation organized under the laws of Pennsylvania with its principal place of

        business in Philadelphia, Pennsylvania and is licensed to operate in the State of New York. Upon

        information and belief, INA Insurance Company and IINA sold insurance policies providing coverage

        to the Archdiocese in New York for certain time frames during which the victim-survivors allege

        abuse.
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                        24.   Upon information and belief, INA is a corporation organized under the laws of

        Pennsylvania with its principal place of business in Philadelphia, Pennsylvania and is licensed to

        operate in the State of New York. Upon information and belief, INA sold insurance policies providing

        coverage to the Archdiocese in New York for certain time frames during which the victim-survivors

        allege abuse. INA is a member of the Chubb Group of Insurance Companies.

                        25.   Upon information and belief, Lexington is a corporation organized under the

        laws of Delaware with its principal place of business in Boston, Massachusetts. Upon information and

        belief, Lexington sold insurance policies providing coverage to the Archdiocese in New York for

        certain time frames during which the victim-survivors allege abuse.

                        26.   Upon information and belief, certain London Market Companies that subscribed

        to liability policies that the Archdiocese purchased through Arthur J. Gallagher & Co. and its affiliates

        are organized under the laws of the United Kingdom with their principal places of business in London,

        England. Upon information and belief, London Market Companies sold insurance policies providing

        coverage to the Archdiocese in New York for certain time frames during which the victim-survivors

        allege abuse.

                        27.   Upon information and belief, Markel is a corporation organized under the laws

        of Virginia with its principal place of business in Glenn Allen, Virginia. Upon information and belief,

        Markel is licensed to operate in the State of New York and sold insurance policies providing coverage

        to the Archdiocese in New York for certain time frames during which the victim-survivors allege

        abuse.

                        28.   Upon information and belief, American Re-Insurance Company changed its

        name to Munich Re, which is a corporation organized under the laws of Delaware with its principal

        place of business in New Jersey and is licensed to operate in the State of New York. Upon information

        and belief, American Re-Insurance Company sold insurance policies providing coverage to the
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        Archdiocese in New York for certain time frames during which the victim-survivors allege abuse.

                      29.     Upon information and belief, Transcontinental Insurance Company merged with

        National Fire, which is a corporation organized under the laws of Illinois with its principal place of

        business in Chicago, Illinois and is licensed to operate in the State of New York. Upon information

        and belief, Transcontinental Insurance Company sold insurance policies providing coverage to the

        Archdiocese in New York for certain time frames during which the victim-survivors allege abuse.

                      30.     Upon information and belief, National Surety is a corporation organized under

        the laws of Illinois with its principal place of business in Chicago, Illinois. Upon information and

        belief, National Surety is licensed to operate in the State of New York and sold insurance policies

        providing coverage to the Archdiocese in New York for certain time frames during which the victim-

        survivors allege abuse.

                      31.     Upon information and belief, Landmark Insurance Company merged with

        National Union, which is a corporation organized under the laws of Pennsylvania with its principal

        place of business in Harrisburg, Pennsylvania.     Upon information and belief, National Union is

        licensed to operate in the State of New York. Upon information and belief, National Union and

        Landmark Insurance Company sold insurance policies providing coverage to the Archdiocese in New

        York for certain time frames during which the victim-survivors allege abuse.

                      32.     Upon information and belief, Ohio Casualty is a corporation organized under the

        laws of New Hampshire with its principal place of business in Boston, Massachusetts.            Upon

        information and belief, Ohio Casualty is licensed to operate in the State of New York and sold

        insurance policies providing coverage to the Archdiocese in New York for certain time frames during

        which the victim-survivors allege abuse.

                      33.     Upon information and belief, Pacific Employers is a corporation organized

        under the laws of Pennsylvania with its principal place of business in Philadelphia, Pennsylvania.
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        Upon information and belief, Pacific Employers is licensed to operate in the State of New York and

        sold insurance policies providing coverage to the Archdiocese in New York for certain time frames

        during which the victim-survivors allege abuse. Pacific Employers is a member of the Chubb Group

        of Insurance Companies.

                        34.   Upon information and belief, International Insurance Company merged into

        TIG, which is a corporation organized under the laws of California with its principal place of business

        in Manchester, New Hampshire and is licensed to operate in the State of New York. Upon information

        and belief, International Insurance Company sold insurance policies providing coverage to the

        Archdiocese in New York for certain time frames during which the victim-survivors allege abuse.

                        35.   Upon information and belief, Twin City is a corporation organized under the

        laws of Indiana with its principal place of business in Hartford, Connecticut. Upon information and

        belief, Twin City is licensed to operate in the State of New York and sold insurance policies providing

        coverage to the Archdiocese in New York for certain time frames during which the victim-survivors

        allege abuse.

                        36.   Upon information and belief, St. Paul Surplus Lines Insurance Company is a

        corporation organized under the laws of Delaware with its principal place of business in Hartford,

        Connecticut. Upon information and belief, St. Paul Surplus Lines Insurance Company sold insurance

        policies providing coverage to the Archdiocese in New York for certain time frames during which the

        victim-survivors allege abuse.

                        37.   Upon information and belief, certain Underwriters at Lloyd’s, London that

        subscribed to liability policies that the Archdiocese purchased through Arthur J. Gallagher & Co. and

        its affiliates are organized under the laws of the United Kingdom with their principal places of business

        in London, England. Upon information and belief, certain Underwriters at Lloyd’s, London sold

        insurance policies providing coverage to the Archdiocese in New York for certain time frames during
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        which the victim-survivors allege abuse.

                       38.     Upon information and belief, Westchester Fire is a corporation organized under

        the laws of Pennsylvania with its principal place of business in Philadelphia, Pennsylvania. Upon

        information and belief, Westchester Fire is licensed to operate in the State of New York and sold

        insurance policies providing coverage to the Archdiocese in New York for certain time frames during

        which the victim-survivors allege abuse. Westchester Fire is a member of the Chubb Group of

        Insurance Companies.

                       39.     Upon information and belief, Vigilant is a corporation organized under the laws

        of New York with its principal place of business in Philadelphia, Pennsylvania. Upon information and

        belief, Vigilant is licensed to operate in the State of New York and sold insurance policies providing

        coverage to the Archdiocese in New York for certain time frames during which the victim-survivors

        allege abuse. Vigilant is a member of the Chubb Group of Insurance Companies.

                                           JURISDICTION AND VENUE

                       40.     This matter falls within this Court’s general original jurisdiction pursuant to

        Judiciary Law § 140-b and Article VI, § 7 of the New York Constitution.

                       41.     This Court has personal jurisdiction over the Insurers pursuant to N.Y. C.P.L.R.

        §§ 301, 302(a), and 311. At all times relevant herein, the Insurers transacted business within the State

        of New York and contracted to provide services within this State by insuring risks in New York.

                       42.     The Commercial Division of this Court has jurisdiction over this action pursuant

        to § 202.70 of the Rules of the Commercial Division in that the matter in controversy, exclusive of

        punitive damages, interest, costs, disbursements, and counsel fees claimed, exceeds $500,000, and

        involves the claims of declaratory relief and breach of contract.

                       43.     Venue is proper in this Court pursuant to N.Y. C.P.L.R. § 503 inasmuch as the

        Archdiocese has its principal place of business in New York County.
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                        INSURANCE POLICIES PURCHASED BY THE ARCHDIOCESE

                       44.     Upon information and belief, at various times from at least 1954 to the present,

        in consideration of premiums paid by or on behalf of the Archdiocese, the Insurers, among others, sold

        or acquired responsibility for primary general liability insurance policies, as well as certain umbrella

        and/or excess liability policies, including the policies listed in the attached Exhibit A (collectively, the

        “Insurance Policies”). The Insurance Policies provide coverage for the Archdiocese and, as indicated

        in the policies, certain incorporated parishes, schools, and other Roman Catholic entities as listed in the

        Official Catholic Directory and which lie within the Archdiocese’s territory.

                       45.     Upon information and belief, the Insurance Policies provide valuable coverage

        for damages that the insured becomes legally obligated to pay through judgments or settlements

        because of bodily injury, including settlements or judgments based on claims and lawsuits alleging

        sexual abuse and physical abuse.

                       46.     Upon information and belief, many of the Insurance Policies also require the

        Insurers to pay defense costs and expenses, including attorney’s fees, incurred by the insured in the

        investigation and defense of allegations by victim-survivors. This obligation applies even if the

        allegations are groundless, false, or fraudulent.

                       47.     Upon information and belief, the Archdiocese timely paid all premiums due

        under the Insurance Policies.

                                                       THE IRCP

                       48.     In or about October 2016, the Archbishop of New York announced the

        Independent Reconciliation and Compensation Program or, as it is referred to herein, the IRCP as part

        of its ongoing effort to bring healing and provide compensation to the victim-survivors who allegedly

        suffered sexual abuse as a minor by a priest or deacon of the Archdiocese.

                       49.     The program was independently administered by Mr. Kenneth Feinberg. Mr.
                                                            13


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        Feinberg and his colleagues had complete autonomy in assessing the allegations and determining

        compensation for participating victim-survivors, if any, and the Archdiocese has abided by their

        determinations.

                       50.     As of April 2019, 323 victim-survivors of abuse have participated in the IRCP,

        and have received approximately $65 million in compensation. The victim-survivors who voluntarily

        participated in the IRCP provided full releases to the Archdiocese.

                                       CVA AND SEXUAL ABUSE CLAIMS

                       51.     Over the past several years, a number of states have passed so-called “window”

        statutes to allow claimants to assert previously time-barred claims alleging sexual abuse against

        schools, religious institutions, and other organizations that employed or supervised perpetrators. In

        such states, numerous claimants have brought suits, exposing defendants to enormous liabilities.

                       52.     Efforts in New York State have been underway for many years to pass a statute

        reviving the statute of limitations for time-barred claims of sexual abuse.

                       53.     As a result of these efforts, it was widely believed that New York would

        eventually pass a statute allowing sexual abuse victims to bring time-barred suits. Indeed, New York

        passed the CVA, which was signed by Governor Cuomo on February 14, 2019.

                       54.     The CVA allows claimants to file suits alleging sexual abuse that were

        previously barred by the statute of limitations by reopening the statute of limitations for a one-year

        period. The one-year “window” in New York opens in August 2019.

                       55.     If the experience in other jurisdictions that have passed “window” statutes is any

        indication, when the one-year “window” opens pursuant to the CVA, numerous claimants who did not

        participate in the IRCP will likely assert claims and file suits against the Archdiocese alleging sexual

        abuse and physical abuse and seeking damages.

                       56.     As a result of the CVA, the Archdiocese faces substantial potential liability for
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        damages for alleged injury from sexual abuse and physical abuse.

                                                  NORMAN SUIT

                      57.     Although the “window” has not opened, individuals alleging claims based on

        sexual abuse against the Archdiocese have prematurely begun to file actions, which will become

        effective once the “window” opens.

                      58.     On or about April 18, 2019, the Archdiocese was served with a lawsuit entitled

        John Michael Norman v. Archdiocese of New York, et al., which was filed in the Supreme Court of the

        State of New York, County of New York (the “Norman Suit”). A copy of the summons and complaint

        for the Norman Suit is attached as Exhibit B.

                      59.     The Norman Suit alleges negligence claims against the Archdiocese based on

        allegations that two clergy members sexually abused the claimant.

                      60.     The Norman Suit alleges that Father Arthur N. Fernando (“Father Fernando”)

        abused the claimant from approximately 1972 through approximately 1973.

                      61.     The Norman Suit alleges that Rev. Monsignor Jeremiah Brennan (“Monsignor

        Brennan”) abused the claimant for six months during 1974.

                      62.     The Norman Suit alleges claims against the Archdiocese sounding in

        negligence, including (1) “Negligent Hiring/Retention/Supervision/Direction,” (2) “Negligence/Gross

        Negligence,” and (3) “Negligent Infliction of Emotional Distress.”

                      63.     In support of the negligence claims, the Norman Suit sets forth alternative

        allegations regarding the Archdiocese’s alleged knowledge of the abuse. For example, the Norman

        Suit alleges that the Archdiocese “knew and/or reasonably should have known, and/or knowingly

        condoned, and/or covered up, the inappropriate and unlawful sexual activities of Father Fernando and

        Monsignor Brennan who sexually abused Plaintiff.” Ex. B ¶ 21. Similarly, the Norman Suit alleges

        that the Archdiocese’s “willful, wanton, grossly negligent and/or negligent act(s) of commission and/or
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        omission, resulted directly and/or proximately in the damage set forth herein at length.” Id. ¶ 46; see

        also id. ¶ 80.

                         64.   During the period of the alleged abuse, INA insured the Archdiocese pursuant to

        primary and excess insurance policies, some or all of which included a duty to defend. For example,

        INA Policy GLP 336428, whose policy period runs from September 7, 1972 to January 1, 1974, states

        that INA has the duty to defend “even if the allegations of the suit are groundless, false, or fraudulent.”

        The duty to defend arises whenever any of the allegations within the four corners of the underlying

        complaint potentially give rise to a covered claim.

                         65.   On or about April 29, 2019, the Archdiocese provided notice to INA pursuant to

        the Insurance Policies for which INA is responsible (“INA Insurance Policies”) of the Norman Suit

        and provided a copy of the summons and complaint to INA.

                         66.   On or about May 14, 2019, Chubb North America (“Chubb”), on behalf of INA,

        sent a letter denying any obligation to defend or indemnify the Archdiocese against the Norman Suit

        (the “Denial Letter”). A copy of the Denial Letter is attached as Exhibit C. As the Denial Letter

        shows, Chubb and INA relied exclusively on the allegations in the Norman Suit to formulate their

        coverage position.

                         67.   The Denial Letter states that the underlying “Plaintiff alleges to have sustained

        injury that was expected and/or intended from the standpoint of the Archdiocese. These allegations do

        not give rise to an ‘occurrence’ under the INA Policies.”

                         68.   Based on its determination that the Norman Suit solely alleged expected or

        intended injury, Chubb and INA denied that INA had any duty to defend the Archdiocese against the

        Norman Suit, stating that “Chubb has no defense and no indemnification obligations in connection

        with the Norman Action and denies coverage accordingly.”

                         69.   Chubb and INA lack a reasonable basis to deny the duty to defend the
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        Archdiocese against the Norman Suit and ignore the terms of the Insurance Policies. The Norman Suit

        does not allege that the Archdiocese unequivocally expected or intended all of the alleged injury.

        Instead, the Norman Suit makes alternative allegations that the Archdiocese knew or should have

        known of the improper conduct of Father Fernando and Monsignor Brennan. The Norman Suit thus

        seeks to hold the Archdiocese liable even though the Archdiocese may not have expected or intended,

        or even had notice or knowledge of, the alleged abuse.

                        70.      Chubb and INA ignore that the Norman Suit does not identify who at the

        Archdiocese might have known of the abuse, what information was known to the Archdiocese, or

        when the Archdiocese was notified of the abuse. Chubb admits in the Denial Letter that the Norman

        Suit fails to “allege or discuss whether such information [about the alleged abuse] was ever received by

        the Archdiocesan Service Corporation.”

                        71.      To the extent that the Norman Suit alleges that the Archdiocese had knowledge

        of the alleged abuse, the Norman Suit fails even to allege that the Archdiocese actually knew or

        received notice of Father Fernando’s or Monsignor Brennan’s pedophilic propensities prior to the

        alleged abuse, thus leaving open the possibility that the Archdiocese neither expected nor intended the

        abuse, if at all, until some point after it started.

                        72.      Chubb and INA also ignore that the Norman Suit does not allege that the

        Archbishop expected or intended the alleged abuse. Indeed, there has been no judicial determination

        that the Archbishop expected or intended the alleged abuse. Accordingly, whether the injury alleged in

        the Norman Suit was expected or intended is a question of fact and INA must defend the Archdiocese

        unless and until a court determines by a final, non-appealable judgment that the Archbishop expected

        or intended the alleged abuse.

                        73.      Chubb and INA ignore the provision of the INA Insurance Policies that provides

        that “Assault and Battery shall be deemed an occurrence unless committed by or at the direction of the
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        Insured . . . .” The Norman Suit, however, does not allege that the sexual abuse was committed by or

        at the direction of the Archdiocese.

                       74.     Contrary to Chubb’s and INA’s contentions, the allegations within the four

        corners of the Norman Suit do not unequivocally allege that the Archdiocese expected or intended all

        of the alleged abuse. INA, therefore, has a duty to defend the Archdiocese.

                                               COVERAGE DISPUTE

                       75.     The Archdiocese has fulfilled all of its duties and conditions under each of the

        Insurance Policies, including cooperating with the Insurers’ reasonable requests.

                       76.     The Archdiocese is entitled to all benefits provided by the Insurance Policies.

                       77.     On information and belief, the Insurers intend to dispute, limit, or deny coverage

        for sexual abuse claims and lawsuits asserted against the Archdiocese as result of the CVA.

                                                       COUNT I

                        Declaratory Judgment Against All Insurers – Sexual Abuse Claims

                       78.     The Archdiocese repeats and re-alleges each and every allegation contained in

        paragraphs 1 through 77 above with the same force and effect as though fully set forth herein.

                       79.     The Archdiocese seeks a judicial determination of the rights and duties of the

        Archdiocese and the Insurers with respect to an actual controversy arising out of the Insurance

        Policies.

                       80.     Pursuant to the terms of the Insurance Policies, the Insurers agreed to provide

        coverage for damages because of bodily injury, and defense costs and expenses.

                       81.     The claims and lawsuits alleging sexual abuse and physical abuse that will be

        asserted against the Archdiocese when the “window” opens, and the significant potential liability

        arising out of such claims and lawsuits, implicate the Insurance Policies, including the umbrella and

        excess Insurance Policies.
                                                           18


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                          82.   An actual controversy of a justiciable nature presently exists between the

        Archdiocese and the Insurers regarding the proper construction of the Insurance Policies and the rights

        and obligations of the parties thereto. The controversy is of sufficient immediacy and magnitude to

        justify the issuance of a declaratory judgment.

                          83.   The issuance of declaratory relief by this Court will terminate some or all of the

        existing controversy between the parties.

                                                         COUNT II

                                            Breach of Contract Against INA

                          84.   The Archdiocese repeats and re-alleges each and every allegation contained in

        paragraphs 1 through 84 above with the same force and effect as though fully set forth herein.

                          85.   The Archdiocese incurred damages under the Insurance Policies for which INA

        is responsible.

                          86.   The INA Insurance Policies are valid and enforceable contracts providing

        insurance coverage for the damages incurred by the Archdiocese.

                          87.   The Archdiocese has given timely notice.

                          88.   The Archdiocese substantially performed all material obligations on its part to

        be performed under the INA Insurance Policies.

                          89.   INA has refused to accept its legal obligations to provide coverage for

        allegations and claims of sexual abuse against the Archdiocese.

                          90.   INA’s failure and refusal to make payments due under the Insurance Policies

        constitute a breach of the Insurance Policies.

                          91.   As a direct and proximate result of INA’s breach of the INA Insurance Policies,

        the Archdiocese is suffering damages equal to the sums it would be entitled to recover as benefits

        under the INA Insurance Policies.
                                                             19


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                                                       COUNT III

                                                 Bad Faith Against INA

                       92.     The Archdiocese repeats and re-alleges each and every allegation contained in

        paragraphs 1 through 91 above with the same force and effect as though fully set forth herein.

                       93.     INA breached its duty to defend when it refused to defend the Archdiocese

        against the Norman Suit.

                       94.     INA’s breach of its duty to defend on the basis of expected or intended injury

        lacked any arguable basis and constituted a bad faith denial of coverage. No reasonable insurance

        company would, under the facts alleged in the Norman Suit, be expected to assert expected or intended

        injury as the basis for denying its duty to defend the Archdiocese. INA’s baseless denial of coverage

        and utter failure to investigate the claim amounted to complete abandonment of its insured and

        deprives the Archdiocese of the benefits of the liability coverage for which it paid premiums.

                       95.     As a direct and proximate result of INA’s bad faith breach of its duty to defend,

        the Archdiocese has been forced to retain counsel and to prosecute this coverage action against INA

        and has incurred and will continue to incur attorneys’ fees, costs, and disbursements.

                                                PRAYER FOR RELIEF

                       WHEREFORE, the Archdiocese prays for judgment as follows:

                       1.              On Count I, the Archdiocese requests that this Court enter a declaratory

        judgment in favor of the Archdiocese against each of the Insurers;

                       2.              On Count II, the Archdiocese requests that this Court enter a judgment

        awarding the payment of damages in an amount equal to the amount owed under the INA Insurance

        Policies, to be proven at trial, as well as pre- and post-judgment interest;

                       3.              On Count III, the Archdiocese requests that this Court enter a judgment

        awarding its attorneys’ fees, costs, and disbursements in connection with INA’s bad faith refusal to
                                                             20


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            defcñd           the     Archdiocese                  against         the     Norman          Suit,           in    an     amount                  to        be   proven             at      tr




            post-judgment                     interest;




                                              4.                              Additionally,              the        Archdiocese                           requests                   such        other




            this     Court         may         deem        just     and       proper.




                                                                                                        JURY              DEMAND

                                     The       Archdiocese                  requests          a trial    by       jury          on    any         issue             so    triable.




            Dated:           New        York,             New      York

                              June      28,        2019


                                                                                                              Respectfully                      suh=ined,


                                                                                                                     BLANK                      ROME                     LLP




                                                                                                        By:

                                                                                                                     James             R.        Murray
                                                                                                                     Jared            Zola

                                                                                                                     Robyn                 L.    Michaelson

                                                                                                                         1271        Avenue                of       the       Americas

                                                                                                                     New             York,             New           York             10020

                                                                                                                     Telephone:                        (212)             885-5209

                                                                                                                     Facsimile:
                                                                                                                                                   (917)             591-8538

                                                                                                                     jmurrav_@blankrome.com

                                                                                                                     jzola@blañkrome.com
                                                                                                                     rmichacise                             blankrome.com


                                                                                                                     James             S.       Carter

                                                                                                                     (pro            hac        vice       application                      to   be       s
                                                                                                                         1825        Eye          Street            NW
                                                                                                                     Washington,                           DC        20006
                                                                                                                     Telephone:                        (202)             420-3409

                                                                             27 of 27                                Facsimile:
                                                                                                                                                   (202)             420-2201
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       EXHIBIT 20
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 1   Ford Elsaesser, ISB #2205
     Bruce A. Anderson, ISB #3392
 2   ELSAESSER ANDERSON, CHTD.
     320 East Neider Avenue, Suite 102
 3   Coeur d'Alene, ID 83815
 4   Tel: (208) 667-2900
     Fax: (208) 667-2150
 5   ford@eaidaho.com
     brucea@eaidaho.com
 6
 7   John C. Terlaje
     LAW OFFICE OF JOHN C. TERLAJE
 8   Terlaje Professional Bldg., Suite 216
     194 Hernan Cortez Ave.
 9   Hagåtña, Guam 96910
10   Telephone: (671) 477-8894/5
     john@terlaje.net
11
     Proposed Counsel for Debtor-in-Possession
12
13                              IN THE DISTRICT COURT OF GUAM
                                      TERRITORY OF GUAM
14                                   BANKRUPTCY DIVISION
15
     In re:                                         Chapter 11 Bankruptcy
16
                                                    Case No. 19-00010
17   ARCHBISHOP OF AGAÑA,
18   a Corporation Sole,
                                                    APPLICATION TO EMPLOY BLANK
19                         Debtor.                  ROME, LLP AS SPECIAL INSURANCE
                                                    COUNSEL FOR THE DEBTOR AND
20                                                  DEBTOR-IN-POSSESSION
21
22            The Archbishop of Agaña, a Corporation Sole, also known as the Roman Catholic
23   Archdiocese of Agaña, the debtor and debtor-in-possession, (the “Debtor”) in the above-
24
     captioned Chapter 11 reorganization case (the “Bankruptcy Case”), by counsel and pursuant to
25
     11 U.S.C. §§ 327(e), 328, and 329, hereby requests the Court approve its employment of Blank
26
27   Rome, LLP (“Blank Rome”) as special insurance counsel for the Debtor in accordance with the

28
     APPLICATION TO EMPLOY BLANK ROME, LLP AS SPECIAL INSURANCE COUNSEL
     FOR THE DEBTOR AND DEBTOR-IN-POSSESSION -1

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 1   terms and conditions set forth below. This Application is supported by the Verified Statement

 2   of James R. Murray under Bankruptcy Rule 2014 (the “Verified Statement”), which is filed
 3
     herewith. In further support of this Application, the Debtor states as follows:
 4
 5            1.     On January 16, 2019 (the “Petition Date”), the Debtor commenced this

 6    Bankruptcy Case by filing a voluntary petition for relief under Chapter 11 of the Bankruptcy
 7    Code.
 8
              2.    The Debtor is authorized to operate its businesses as a debtor-in-possession
 9
     pursuant to 11U.S.C. §§ 1107(a) and 1108.
10
11            3.     No creditors committee has yet been appointed in this case, nor has any trustee

12    been requested or appointed.

13            4.     The Debtor wishes to employ Blank Rome as its special insurance counsel in
14    this Bankruptcy Case as more particularly described below and in the Verified Statement.
15
              5.    The employment of Blank Rome is appropriate and necessary to enable Debtor
16
      to successfully reorganize. Blank Rome has expertise in insurance matters related to claims
17
      against the Debtor and has worked on many similar cases throughout the United States. A
18
19    large part of a successful reorganization in similar cases has been the contributions to the

20    Debtor’s estate made by commercial insurance companies that wrote comprehensive general
21
      liability policies decades ago. Those policies were ‘triggered’ by the abuse in those years when
22
      the statute of limitations for abuse claims by minors was lifted. The insurers almost always
23
      retain sophisticated, experienced national coverage counsel to represent their interests and to
24
25    advance many coverage defenses (largely similar to historical asbestos and pollution cases). It

26    is important that the Debtor have experienced and highly-regarded coverage counsel familiar
27
28
     APPLICATION TO EMPLOY BLANK ROME, LLP AS SPECIAL INSURANCE COUNSEL
     FOR THE DEBTOR AND DEBTOR-IN-POSSESSION -2

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 1   with all pertinent coverage issues in order to negotiate (and litigate if necessary) on behalf of

 2   the Debtor (and for the ultimate benefit of the abuse survivors).
 3
             6.      Subject to further order of this Court, it is proposed that Blank Rome be
 4
     employed, effective as of the date of this filing to provide insurance advice and representation
 5
 6   regarding possible negotiation and/or litigation relating to the underlying claims of abuse and

 7   the rights of the Archdiocese under historical general liability insurance policies.
 8
             7.      Blank Rome will not act as counsel with respect to bankruptcy matters
 9
     generally.
10
11           8.      The services provided by Blank Rome will not duplicate or overlap the efforts

12   of any other professional retained by Debtor, including bankruptcy counsel Elsaesser

13   Anderson Chtd., local counsel John C. Terlaje or special counsel Patterson Buchanan Fobes &
14
     Leitch, Inc. P.S. The services to be provided by each of these professionals are separate and
15
     different from the services to be provided by the other professionals and all are essential to the
16
17   Debtor’s reorganization efforts.

18           9.      To the best of the Debtor’s knowledge, information, and belief, after making
19   reasonable inquiry, Blank Rome has no connection with or any interest adverse to the Debtor,
20
     its creditors, or any other party in interest, or its respective attorneys and accountants, the
21
     United States Trustee for the District of Guam, or any person employed in the Office of the
22
23   United States Trustee. Accordingly, Blank Rome is a “disinterested person” as such term is

24   defined in § 101(14) of the Bankruptcy Code.

25           10.     In light of the foregoing, the Debtor believes that Blank Rome is qualified to
26
     represent its interests and the interests of its estate.
27
28
     APPLICATION TO EMPLOY BLANK ROME, LLP AS SPECIAL INSURANCE COUNSEL
     FOR THE DEBTOR AND DEBTOR-IN-POSSESSION -3

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 1          11.     The Debtor understands that Blank Rome intends to apply to the Court for

 2   allowances of compensation and reimbursement of expenses as permitted by and in accordance
 3   with applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, Bankruptcy Local
 4
     Rule 2016-1(a), the United States Trustee guidelines, and the Court’s orders, for services
 5
     performed and expenses incurred on and after the Petition Date. The fee applications will
 6
 7   contain a detailed statement showing services performed by Blank Rome and compensation

 8   received in accordance with all applicable guidelines and Bankruptcy Local Rule 2016-1(a).
 9
            12.     Subject to Court approval, and to the extent it is able, Debtor proposes to pay
10
     Blank Rome its customary hourly rates for services rendered that are in effect from time to
11
12   time, as discounted, as set forth in the Verified Statement, and to reimburse Blank Rome

13   according to its customary reimbursement policies, subject to any applicable guidelines set
14   forth by this Court or the United States Trustee, and submits that such rates are reasonable.
15
     Blank Rome’s attorneys who may perform legal services for the Debtor include James R.
16
     Murray whose hourly rate is $980.00 (discounted to $755.00); and Jim Carter whose hourly
17
18   rate is $705.00 (discounted to $543.00); any other personnel who may work on this matter

19   including partners ($450 to $1,195 per hour); counsels ($440 to $1,070 per hour); associates
20   ($315 to $695 per hour); and paralegals, clerks and librarians ($180 to $450); and members of
21
     E-Discovery, Analysis and Technology Assistance (eDATA”) staff ($165 to $295 per hour).
22
     All timekeepers will have like discounts applied to their rates.
23
24          13.     Blank Rome itemizes and charges separately for certain reasonable costs and

25   expenses, which may include postage, long distance telephone charges, travel, filing fees,
26
     computerized legal research, deposition expenses, and expert witness fees, at Blank Rome’s
27
28
     APPLICATION TO EMPLOY BLANK ROME, LLP AS SPECIAL INSURANCE COUNSEL
     FOR THE DEBTOR AND DEBTOR-IN-POSSESSION -4

            Case 19-00010 Document 39 Filed 01/17/19 Page 4 of 5
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 1    actual cost. Blank Rome also charges for faxes, photocopies ($0.10 per page), mileage at the

 2    IRS mileage rate of $0.58 (2019), and gross receipts tax on fees and costs.
 3           14.    The Debtor has not paid and Blank Rome has not received a pre-petition retainer in
 4
      any amount.
 5
            WHEREFORE, the Debtor respectfully requests the entry of an order, pursuant to
 6
 7   §§327(e), 328, and 329 of the Bankruptcy Code and Bankruptcy Local Rules 2014 and 2016,

 8   authorizing Debtor to employ and retain Blank Rome as special insurance counsel for the
 9   Debtor effective as of the date this Application was filed and granting Debtor all such other
10
     relief as the Court deems just and proper.
11
12   RESPECTFULLY SUBMITTED this 16th day of January, 2019.

13
                                           ELSAESSER ANDERSON, CHTD.
14
15                                         /s/ Bruce A. Anderson
                                           Ford Elsaesser
16
                                           Bruce A. Anderson
17                                         -and-

18                                         LAW OFFICE OF JOHN C. TERLAJE
19
                                           /s/ John C. Terlaje
20                                         John C. Terlaje

21
22
                                       CERTIFICATE OF SERVICE
23
     I hereby certify that, on January 16, 2019, in accordance with Fed. R. Civ. P. 5(b)(3), a true copy
24   of the foregoing Application for Employment of Attorney, was served via the Court’s CM/ECF
     notification facilities to those parties who are registered CM/ECF participants in this case, and
25   the U.S. Trustee.
26
     /s/ Bruce A. Anderson
27   Bruce A. Anderson

28
     APPLICATION TO EMPLOY BLANK ROME, LLP AS SPECIAL INSURANCE COUNSEL
     FOR THE DEBTOR AND DEBTOR-IN-POSSESSION -5

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  suits/article_59c73aab-334f-5b07-af24-b6bd24bcc8a7.html

                                                                               TOPICAL


                 Montana victims alleging sex abuse in the Boy Scouts join national wave of suits
                                                                            Juliana Sukut
                                                                             Nov 3, 2019



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    A
            mid a flurry of lawsuits filed across the nation against the Boy Scouts of America alleging sexual abuse of young Scouts, a
            national group of attorneys is gearing up to file as many as 15 more in Montana.

    More than a dozen men living in Montana have joined a national group, Abused in Scouting, and a trio of law firms is working
    with more than 1,300 men across the nation to bring a case against the BSA. The law group is also preparing to file a suit in
    Washington, D.C., with more than 700 clients.

    The coalition of law firms is one of multiple legal groups bringing scores of lawsuits across the nation against the BSA. Abused in
    Scouting has already brought one case against the Boy Scouts of America this year out of Pennsylvania. Two suits were filed
    Wednesday against the Montana Council alleging sex abuse.

    Dozens of cases have been filed in states like New York and New Jersey made possible by recently passed bills opening
    windows for victims of child sex abuses to file lawsuits against their abusers, even if the statute of limitations had already
    expired.


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    Montana passed a similar bill this year, opening a one-year window beginning in May to allow victims to bring cases against
    their accused sexual abusers. That window closes in May of 2020.



    15 men
    In Montana, at least 15 men had joined the Abused in Scouting group as of Thursday. Tim Kosnoff, lead attorney for AIS, thinks
    there are likely more Montana men who haven’t come forward yet.

    “That is really not a reflection of how extensive the problem is in Montana,” Kosnoff said of the 15 men during a phone interview
    with The Billings Gazette.

    Despite the looming deadline for filing lawsuits in Montana, lead attorney Kosnoff said he is not rushed to file a suit.

    Kosnoff is waiting to file amid rumors the BSA are preparing to file for Chapter 11 bankruptcy protection and are waiting on a
    “discussion” the law group is preparing to have with the Boy Scouts.




    If the BSA does file for bankruptcy, all pending litigation against the BSA would freeze, slowing the process. Depending on the
    type of bankruptcy granted, it could also limit any future claims.

    “Bankruptcy doesn’t mean that the clients are not going to receive compensation,” Kosnoff assured. “It just means that it’s going
    to be processed through the bankruptcy court instead of hundreds of state courts.”

    In a statement to The Billings Gazette, the BSA said it has taken no formal steps toward filing for bankruptcy protection:

    “The Boy Scouts of America is working with experts and exploring all options available so we can live up to our social and moral
    responsibility to fairly compensate victims who suffered abuse during their time in Scouting, while also ensuring that we carry
    out our mission to serve youth, families and local communities through our programs.”

    The law group is also waiting on a pending “discussion” to be had with the BSA, said Andrew Van Arsdale, one of the three lead
    attorneys. That discussion may be among the first steps toward remuneration.




    “The BSA is trying to have discussions with us beforehand, and it's in our best interest to hear them out and not let them waste
    their resources on defense lawyers, which ultimately hurts our clients and chance of recovery,” Van Arsdale said, adding that he
    wouldn’t characterize it as a settlement and that no financial compensation has been discussed.

    If there is no progress with those talks, then the group will file in Montana, Van Arsdale said.

    “By Thanksgiving we can file all 15 of our Montana-based abuse cases under the window,” he said.


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    Those cases would be filed individually against the Boy Scouts of America, the Montana Council and each individual’s named
    perpetrator of abuse, he said.

    National push
    Kosnoff said that the number of abused Boy Scouts across the country could be in the tens of thousands.

    The law group has clients from every state except North Dakota, and has even received allegations of abuse that happened in
    military bases overseas, Kosnoff said.




    Nationally, the Abused in Scouting group has gained momentum since February when it began running television ads and
    launched a website to encourage survivors of abuse to come forward.

    Clients began quickly flooding in, and their client base has grown to more than 1,300 men. The law group also has an office in
    Billings with specialists to speak to men coming forward, as well as a website specific for the Boy Scouts' case.

    The AIS group consists of Kosnoff, Billings native but San Diego-based attorney Andrew Van Arsdale, and the Eisenberg
    Rothweiler law firm, based in Philadelphia.

    Victims range from teenagers to men in their 80s, Kosnoff said. Allegations vary from showing pornographic photos to Boy
    Scouts, to molestation and rape.




    “It really is a tapestry of America over the last 50 years, and I think that’s reflected in the various walks of life that people who
    have hired us come from,” Kosnoff said.

    AIS victims go through vetting processes to ensure their allegations can be supported, said Van Arsdale.

    Background checks of both the alleged victim and the accused abuser are performed before the law group will represent the
    victim, he said.

    Of about 10,000 men who have come forward, the law firms have accepted only about 1,300 as clients based on the provability of
    their accounts.

    History of abuse in Montana
    The lawsuits filed Wednesday by two men, not affiliated with AIS, both specifically name the BSA's so-called “perversion
    files” as evidence of the BSA’s negligence in protecting boys from deviant adult volunteers. Local troop leaders, and
    scoutmasters, are almost exclusively participate as volunteers.




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    Following the founding of the Boy Scouts in 1910, a “red flag” system was developed as a way for Scout leaders to keep track of
    volunteers suspected of abuse.

    The red flags would make others in the organization aware that those volunteers, and were categorized by type of offense.

    In the “perversion files,” six men in Montana were named as abusers between 1965 and 1985, two who lived in
    Billings.

    The AIS’ group also named three additional “confirmed” abusers in Montana among its personal database.

    One other man has been named in a pending lawsuit out of New Jersey, he was an “ineligible volunteer” from Kentucky but
    served later as a Scout leader in Billings in the 1980s.

    In 1987, he was convicted in Billings of sexually assaulting two girls, ages 11 and 12, and sentenced to 8 years in
    prison.




    Those files, which came to light in 2012, have been a catalyst for some of the lawsuits — including the latest Montana suits —
    which claim the BSA has not done enough to protect boys, even when abuse was clearly documented.

    The BSA even let known abusers relocate to different districts where they would have access to more children, the suits allege.

    Preventing future abuse
    In a statement to The Billings Gazette, the BSA says no system is perfect.

    “In the 1920s, the BSA created a system to bar individuals from Scouting who should not work with youth. That system
    continues to this day and has been continually updated and enhanced over time,” the BSA said.

    Since then the BSA has continually updated their Volunteer Screening Database, which is recommended by the Centers for
    Disease Control for other youth programs, the BSA said.

    “(The VSD) remains a valuable tool in preventing known or suspected abusers from joining or re-entering our organization. The
    BSA has taken significant steps over many years to ensure that we respond aggressively and effectively to reports of sexual abuse.
    We believe victims and remove individuals from the program whenever there are allegations of inappropriate behavior. We
    recognize, however, that there were some instances in our organization’s history when cases were not addressed in a manner
    consistent with our commitment to protect Scouts, the values of our organization, and the procedures we have in place today,”
    the statement read, in part.




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    Currently the BSA does implement a variety of safety measures to prevent abuse, including criminal background checks on
    leaders, youth protection training for leaders, and even banning one-on-one interactions between adult leaders and Scouts.
    Those interactions include in person, online, over the phone or via text, it says.

    The BSA is also a mandatory reporter, which by law requires the organization to report suspected abuse to law enforcement. In
    Montana, failure to report can be a felony.

    "We are outraged that there have been times when individuals took advantage of our program to abuse innocent children," the
    BSA said.



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       Juliana Sukut
       Day General Assignment Reporter
       General assignment reporter for The Billings Gazette.




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  2 men sue Montana Boy Scouts over alleged sex abuse
  Oct 30, 2019
  Two men say they were sexually abused in Boy Scouts in Montana and that the organization failed to report
  the abusers and protect the boys.




  Sharing his story empowers survivor of Boy Scouts sex abuse
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  Clayton “Kelly” Seale had heard the rumors about their Boy Scout district's scoutmaster. All the boys had.




                                                                                                               +3




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  bankruptcy
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  Despite the announcement of Chapter 11 bankruptcy protection from the Boy Scouts of America, the Montana
  Council is operating as usual.




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                               UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW MEXICO

In re:                                                Chapter 11

ROMAN CATHOLIC CHURCH OF THE                          Case No.: 18-13027-t11
ARCHDIOCESE OF SANTA FE, a New Mexico
corporation sole,

                        Debtor.

    APPLICATION TO EMPLOY BLANK ROME, LLP AS SPECIAL INSURANCE COUNSEL
                  FOR THE DEBTOR AND DEBTOR-IN-POSSESSION

           The Roman Catholic Church of the Archdiocese of Santa Fe, a New Mexico Corporation sole, the

  debtor and debtor-in-possession (the “Debtor”) in the above-captioned Chapter 11 reorganization case

  (the “Bankruptcy Case”), by counsel and pursuant to 11 U.S.C. §§ 327(e), 328, and 329, hereby requests

  the Court approve its employment of Blank Rome, LLP (“Blank Rome”) as special insurance counsel for

  the Debtor in accordance with the terms and conditions set forth below. This Application is supported by

  the Declaration of James R. Murray under Bankruptcy Rule 2014 (the “Declaration”), which is filed

  herewith. In further support of this Application, the Debtor states as follows:

           1.     This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and 1334,

  and Miscellaneous Order No. 84-0324 filed in the United States District Court for the District of New

  Mexico on March 19, 1992. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper

  before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

           2.     On December 3, 2018 (the “Petition Date”), the Debtor commenced this Bankruptcy Case

  by filing a voluntary petition for relief under Chapter 11 of the Bankruptcy Code.

           3.     The Debtor is authorized to operate its businesses as a debtor-in-possession pursuant to 11

 APPLICATION TO EMPLOY BLANK ROME, LLP AS SPECIAL INSURANCE COUNSEL FOR
 THE DEBTOR AND DEBTOR-IN-POSSESSION - 1

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U.S.C. §§ 1107(a) and 1108.

       4.      The Unsecured Creditors Committee was appointed in this case on December 18, 2018 at
Docket # 53.

       5.      The Debtor wishes to employ Blank Rome as its special insurance counsel in this

Bankruptcy Case as more particularly described below and in the Declaration.

       6.      The employment of Blank Rome is appropriate and necessary to enable Debtor to

successfully reorganize. Blank Rome has expertise in insurance matters related to claims against the

Debtor and has worked on many similar cases throughout the United States. A large part of a successful

reorganization in similar cases has been the contributions to the Debtor’s estate made by commercial

insurance companies that wrote comprehensive general liability policies decades ago. Those policies

were ‘triggered’ by the abuse in those years when the statute of limitations for abuse claims by minors

was lifted. The insurers almost always retain sophisticated, experienced national coverage counsel to

represent their interests and to advance many coverage defenses (largely similar to historical asbestos

and pollution cases). It is important that the Debtor have experienced and highly-regarded coverage

counsel familiar with all pertinent coverage issues in order to negotiate (and litigate if necessary) on

behalf of the Debtor (and for the ultimate benefit of the abuse survivors).

       7.      Subject to further order of this Court, it is proposed that Blank Rome be employed,

effective as of the date of this filing to provide insurance advice and representation regarding possible

negotiation and/or litigation relating to the underlying claims of abuse and the rights of the Archdiocese

under historical general liability insurance policies.

       8.      Blank Rome will not act as counsel with respect to bankruptcy matters generally.

       9.      The services provided by Blank Rome will not duplicate or overlap the efforts of any

other professional retained by Debtor, including lead bankruptcy counsel Elsaesser Anderson Chtd. and

APPLICATION TO EMPLOY BLANK ROME, LLP AS SPECIAL INSURANCE COUNSEL FOR
THE DEBTOR AND DEBTOR-IN-POSSESSION - 2

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local bankruptcy counsel Walker & Associates, P.C. The services to be provided by each of these

professionals are separate and different from the services to be provided by the other professionals and

all are essential to the Debtor’s reorganization efforts.

        10.     To the best of the Debtor’s knowledge, information, and belief, after making reasonable

inquiry, Blank Rome has no connection with or any interest adverse to the Debtor, its creditors, or any

other party in interest, or its respective attorneys and accountants, the United States Trustee for the

District of New Mexico, or any person employed in the Office of the United States Trustee. Blank Rome

has represented Bank of America in matters not related to the Debtor. Accordingly, Blank Rome is a

“disinterested person” as such term is defined in § 101(14) of the Bankruptcy Code.

        11.     In light of the foregoing, the Debtor believes that Blank Rome is qualified to represent its

interests and the interests of its estate.

        12.     The Debtor understands that Blank Rome intends to apply to the Court for allowances of

compensation and reimbursement of expenses as permitted by and in accordance with applicable

provisions of the Bankruptcy Code, the Bankruptcy Rules, Local Rule 2016-1(a), the United States

Trustee guidelines, and the Court’s orders, for services performed and expenses incurred on and after the

Petition Date. The fee applications will contain a detailed statement showing services performed by

Blank Rome and compensation received in accordance with all applicable guidelines and Local Rule

2016-1(a).

        13.     Subject to Court approval, and to the extent it is able, Debtor proposes to pay Blank

Rome its customary hourly rates for services rendered that are in effect from time to time, as discounted,

as set forth in the Declaration, and to reimburse Blank Rome according to its customary reimbursement

policies, subject to any applicable guidelines set forth by this Court or the United States Trustee, and

submits that such rates are reasonable. Blank Rome’s attorneys who may perform legal services for the

APPLICATION TO EMPLOY BLANK ROME, LLP AS SPECIAL INSURANCE COUNSEL FOR
THE DEBTOR AND DEBTOR-IN-POSSESSION - 3

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Debtor include James R. Murray whose hourly rate is $980.00 (discounted to $755.00); and Jim Carter

whose hourly rate is $705.00 (discounted to $543.00); any other personnel who may work on this matter

including partners ($450 to $1,195 per hour); counsels ($440 to $1,070 per hour); associates ($315 to

$695 per hour); and paralegals, clerks and librarians ($180 to $450); and members of E-Discovery,

Analysis and Technology Assistance (eDATA”) staff ($165 to $295 per hour). All timekeepers will

have like discounts applied to their rates.

       14.     Blank Rome itemizes and charges separately for certain reasonable costs and expenses,

which may include postage, long distance telephone charges, travel, filing fees, computerized legal

research, deposition expenses, and expert witness fees, at Blank Rome’s actual cost. Blank Rome also

charges for faxes, photocopies ($0.10 per page), and gross receipts tax on fees and costs. Further,

although considered normal expenses charged to its clients, Blank Rome has informed the Debtor that,

limited to this bankruptcy case, it will not charge Debtor for any of the following services, pursuant to

this Court’s opinion in In re Furr’s Supermarkets, Inc., Case No. 11-01-10779 SA (Bankr. D.N.M. June

28, 2001): secretarial work, secretarial overtime, overtime meals, late work transportation allowances,

and word processing, proofreading, or other miscellaneous support services.

       15.    If the application to employ Blank Rome is granted, Blank Rome will render monthly

statements to Debtor and other parties in interest. Blank Rome seeks authority to be paid monthly, upon

receipt of Blank Rome’s billing statements and before the fees and costs are allowed, 75% of billed fees

and 100% of billed costs and gross receipts tax, to be paid from funds of the estate. All fees, costs, and

gross receipts tax would be subject to ultimate approval of the Bankruptcy Court under 11 U.S.C. §§

328, 330, and 331. Blank Rome’s fee applications would contain a detailed statement showing services

performed by Blank Rome for compensation received. As of the Petition Date, the Debtor does not owe

Blank Rome any amounts for legal services rendered before the Petition Date.

APPLICATION TO EMPLOY BLANK ROME, LLP AS SPECIAL INSURANCE COUNSEL FOR
THE DEBTOR AND DEBTOR-IN-POSSESSION - 4

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         16.    The Debtor has not paid and Blank Rome has not received a pre-petition retainer in any

 amount.

         WHEREFORE, the Debtor respectfully requests the entry of an order, pursuant to §§327(e), 328,

 and 329 of the Bankruptcy Code and Bankruptcy Rules 2014 and 2016, authorizing Debtor to employ and

 retain Blank Rome as special insurance counsel for the Debtor effective as of the date this Application

 was filed and granting Debtor all such other relief as the Court deems just and proper.


                                        Respectfully submitted,

                                        By: filed electronically 12/31/2018
                                             Stephanie L. Schaeffer
                                             Thomas D. Walker
                                             WALKER & ASSOCIATES, P.C.
                                             500 Marquette Ave NW, Suite 650
                                              Albuquerque, NM 87102
                                              Telephone: (505) 766-9272
                                              Facsimile: (505) 766-9287
                                             e-mail: twalker@walkerlawpc.com

                                             -and-

                                              /s/ Bruce A. Anderson
                                             Bruce A. Anderson
                                             Ford Elsaesser
                                             ELSAESSER ANDERSON CHTD.
                                             320 East Neider Avenue #102
                                             Coeur d’Alene ID 83815
                                              Telephone: (208) 667-2900
                                              Facsimile: (208) 667-2150
                                             e-mail: brucea@eaidaho.com

                                        Proposed Attorneys for Debtor in Possession

                                         CERTIFICATE OF SERVICE

 I hereby certify that, on December 31, 2018, in accordance with NM LBR 9036-1 and Fed. R. Civ. P. 5(b)(3), a
 true copy of the foregoing was served via the Court’s CM/ECF notification facilities to those parties who are
 registered CM/ECF participants in this case.

 /s/ Stephanie L. Schaeffer
Stephanie L. Schaeffer



APPLICATION TO EMPLOY BLANK ROME, LLP AS SPECIAL INSURANCE COUNSEL FOR
THE DEBTOR AND DEBTOR-IN-POSSESSION - 5

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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
                                                )
In re:                                          )
                                                )     Case No. 20-10322
The Diocese of Buffalo, N.Y.,                   )
                                                )     Chapter 11
                         Debtor.                )
                                                )

    EX PARTE APPLICATION FOR ORDER APPOINTING BLANK ROME, LLP AS
              SPECIAL INSURANCE COUNSEL TO THE DIOCESE

         The Diocese of Buffalo, N.Y. (the “Diocese”) hereby files this application (this

“Application”) for entry of an order, substantially in the form of the proposed order attached

hereto as Exhibit A, authorizing the Diocese to employ and retain Blank Rome, LLP (“Blank

Rome”), effective as of February 28, 2020, to act as the Diocese’s special insurance counsel with

respect to the Diocese’s various insurance policies and insurance coverage related litigation in

the above-captioned bankruptcy case. In support of this application the Diocese respectfully

represents as follows:

                                         BACKGROUND

         1.      On February 28, 2020 (the “Petition Date”), the Diocese filed a voluntary petition

for relief under chapter 11 of title 11 of the United States Code (11 U.S.C. § 101 et seq., the

“Bankruptcy Code”) with the United States Bankruptcy Court for the Western District of New

York (the “Court”), commencing the Diocese’s chapter 11 case (this “Chapter 11 Case”). The

Diocese continues to operate its business and manage its properties as a debtor in possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No request for a trustee or

examiner has been made in this Chapter 11 Case.




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        2.      On March 11, 2020, the Office of the United States Trustee appointed the

Official Committee of Unsecured Creditors (the “Committee”) pursuant to Bankruptcy Code

section 1102 [Docket No. 92].

        3.      Information regarding the Diocese’s history, business operations and structure,

and the events leading up to this Chapter 11 Case is set forth in the Affidavit of Rev. Peter J.

Karalus Regarding Structure and Pre-Filing History of The Diocese of Buffalo and in Support of

the Chapter 11 Petition and First Day Pleadings and the Affidavit of Charles Mendolera

Regarding the Diocese’s Assets and Operations and in Support of the Chapter 11 Petition and

First Day Pleadings, each of which was filed on the Petition Date and is incorporated herein by

reference [Docket Nos. 7, 8].

                                         JURISDICTION

        4.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334.

        5.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        6.      This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

        7.      The statutory and rule-based predicates for the relief requested herein are sections

327(a), 329, 330, 503(b), 504 and 507(a)(2) of the Bankruptcy Code, Rules 2014, 2016, 5002,

and 6003 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rules

2014-2 and 2016-1 of the Local Rules of Bankruptcy Procedure for the Western District of New

York (the “Local Rules”).

        8.      The Diocese does not, by filing its petition for relief and other documents in this

Chapter 11 Case, waive any of its rights under any applicable law, including, without limitation,

the Code of Canon law, the First Amendment of the United States Constitution, the Constitution

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for the State of New York, the Religious Freedom Restoration Act, the church autonomy

doctrine, charitable trust law, New York trust law, and the rights to object to disclosure of

information and to contend that certain assets which may be discussed in the Motion are not

property of the estate.

                                     RELIEF REQUESTED

       9.       By this Application, the Diocese respectfully requests that the Court enter an

order authorizing the Diocese to retain Blank Rome as special insurance counsel, effective as of

the Petition Date.    In support of this Application, the Diocese submits the Declaration of

Attorney James R. Murray, sworn to on the 21st day of April 2020 (the “Murray Declaration”),

attached hereto as Exhibit B.

       10.      Prior to the Petition Date, the Diocese entered into an engagement agreement with

Blank Rome with respect to various insurance coverage matters. No retainer was paid in

connection with the retention; rather, Blank Rome will seek to be paid from the Diocese’s estate.

       11.      On January 28, 2019 the New York Legislature passed the Child Victims Act

(A.2683/S.2440) (the “CVA”). New York’s governor signed the CVA legislation into law on

February 14, 2019. The CVA modified the statute of limitations and created a “window” for one

year so that any child sex abuse victim that may have been barred by the statute of limitations

could commence a civil action. In addition, the CVA extends the statute of limitations and

allows all child victims to commence civil litigation until they turn 55 years of age.

       12.      Since the window has opened on August 14, 2019, over 250 plaintiffs have

commenced actions against the Diocese alleging child sexual abuse. In addition, demand letters

or notices have been received from other claimants who have not yet commenced lawsuits




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against the Diocese and the Diocese anticipates that in excess of 400 individuals may assert

abuse claims for which they may seek to hold the Diocese responsible (the “CVA Claims”).

        13.      It is necessary to employ special insurance counsel to advise the Diocese with

respect to the Diocese’s various insurance policies and insurance coverage related litigation,

including, but not limited to, insurance coverage litigation relating to CVA Claims.

                               BASIS FOR RELIEF REQUESTED

        14.      The Diocese respectfully submits that the retention of Blank Rome complies with

section 327(e) of the Bankruptcy Code, which provides:

                 [t]he trustee, with the court’s approval, may employ, for a
                 specified special purpose, other than to represent the trustee in
                 conducting the case, an attorney that has represented the debtor, if
                 in the best interest of the estate, and if such attorney does not
                 represent or hold any interest adverse to the debtor or to the estate
                 with respect to the matter on which such attorney is to be
                 employed.

11 U.S.C. 327(e).

        15.      Thus, the retention of special counsel is authorized under the Bankruptcy Code

when: (i) the proposed special counsel has previously represented the debtor, (ii) the appointment

of special counsel is in the best interest of the debtor’s estate and (iii) counsel does not hold an

interest adverse to the estate with respect to the matter for which counsel is to be employed. See

Bank Brussels Lambert v. Coan (In re AroChem Corp.), 176 F.3d 610, 622 (2d Cir. 1999).

A.      Previous Representation and Best Interest of the Diocese’s Estate.

        16.      Blank Rome was retained by the Diocese pre-petition to render legal services and

advise the Diocese regarding its insurance policies in anticipation of the Diocese filing this

bankruptcy case. Blank Rome’s services will be essential to the reorganization of the Diocese




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because obtaining maximum insurance coverage increases the viability of confirming a chapter

11 plan of reorganization that adequately addresses the CVA Claims in this case.

        17.       In addition, Blank Rome has specialized knowledge in the areas of policy audits,

insurance coverage litigation, complex insurance settlements, and analyzing insurance programs

and risk profiles. James R. Murray was also retained as special insurance counsel in the Diocese

of Rochester, Diocese of Spokane, Oregon Province, Society of Jesus, Diocese of Helena,

Diocese of Duluth, Diocese of New Ulm, Archdiocese of Santa Fe, and Archdiocese of Agaña.

The Diocese selected Blank Rome because of Mr. Murray’s considerable experience in these

fields and his demonstrated ability to deliver efficient, cost-effective results.

        18.       The Diocese believes that Blank Rome is well qualified to represent it as special

insurance counsel in its Chapter 11 Case and that such retention would be in the best interests of

the its estate.

B.      Blank Rome Holds No Adverse Interest.

        19.       Proposed counsel holds an adverse interest if they “(1) [possess or assert] ‘any

economic interest that would tend to lessen the value of the bankruptcy estate or that would

create either an actual or potential dispute in which the estate is a rival claimant’ or (2) [possess]

‘a predisposition under circumstances that render such a bias against the estate.’”               In re

Residential Capital, LLC, No. 12-12020 (MG), 2012 Bankr. LEXIS 3706, at *10 (Bankr.

S.D.N.Y. 2012) (quoting In re AroChem Corp.). Further, the review of potential conflicts is

limited to the scope of the proposed special representation. See id.

        20.       The Diocese believes that Blank Rome does not represent any interest adverse to

the Diocese in accordance with 11 U.S.C. § 327(e). Although Blank Rome provided services to

the Diocese prior to the Petition Date, Blank Rome does not hold claims against the Diocese for

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services rendered prior to the Petition Date, and the Diocese does not owe Blank Rome for any

unpaid pre-petition invoices.     Prior to the Petition Date, the Diocese paid Blank Rome

$165,142.96 for pre-petition services rendered to the Diocese.

       21.      Other than as set forth above and disclosed in the Murray Declaration, the

Diocese believes that Blank Rome has no connection with the Diocese, its creditors, or any other

party in interest, their respective attorneys and accountants, the Office of the United States

Trustee, or any person employed in the Office of the United States Trustee and does not hold any

bias towards or against the Diocese’s estate.

       22.      Blank Rome has indicated its willingness to act as special insurance counsel on

the Diocese’s behalf and to be compensated in accordance with the Bankruptcy Code, the

Bankruptcy Rules and applicable orders of this Court entered in the Chapter 11 Case.

       23.      The Diocese understands that it will be responsible to Blank Rome for all

disbursements incurred by Blank Rome in representing the Diocese in all respects.

       24.      During the course of representing the Diocese as set forth herein, the services of

Blank Rome may be necessary for other duties not enumerated herein and not known at this

time. In the event the services of Blank Rome are required for unusual or extraordinary matters

beyond the scope or intent of this Application, the Diocese will make an additional application

for such authorization.

                                     NO PRIOR REQUEST

       25.      The Diocese has not previously sought the relief requested herein from this or any

other court.




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       WHEREFORE, the Diocese respectfully requests that the Court enter an order in the

form of the proposed order attached hereto as Exhibit A, effective as of the Petition Date,

permitting and authorizing the law firm of Blank Rome, LLP to act as special insurance counsel

to the Diocese herein upon qualification.

Dated: April 22, 2020
       Buffalo, New York
                                                      /s/ Charles Mendolera
                                               Charles Mendolera
                                               Executive Director of Financial Administration




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                                                                                      9/2/2004
     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J.LBR 9004-2©)

     STUTZMAN, BROMBERG, ESSERMAN &
     PLIFKA
     A Professional Corporation
     2323 Bryan Street, Suite 2200
     Dallas, Texas 75214
     Tel (214) 969-4900
     Fax (214) 969-4999

     LEVITT & SLAFKES, P.C.
     76 South Orange Avenue, Suite 305
     South Orange, New Jersey 07079
     (973) 313-1200
     Attorneys for Motley Rice, LLC
     BY: Bruce H. Levitt, Esq. (BL9302)


     In Re:                                             Case No.: 03-51524
                                                                     (Jointly Administered)
      CONGOLEUM CORPORATION et. al.,
                                                        Adv. No .:

                             Debtors.                   Hearing Date: July 26, 2004

                                                        Judge: Kathryn C. Ferguson




              ORDER REQUIRING COMPLIANCE WITH BANKRUPTCY
                  RULE 2019 AND GRANTING OTHER RELIEF

        The relief set forth on the following pages, numbered two (2) through five (5) is hereby
    ORDERED.

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 Case No.: 03-51524 KCF (Jointly Administered)
 Caption:      Order Requiring Compliance with Bankruptcy Rule 2019 and Granting Other
               Relief


         This core matter involving the administration of this bankruptcy case having come before the

 Court on the Motion of Travelers Casualty and Surety Company and St. Paul Fire and Marine Insurance

 Co. [docket no. 919], and on the separate Motion of Century Indemnity Co., ACE American Insurance

 Co., and ACE Property and Casualty Insurance Co. [docket no. 922]; and the Court having considered all

 pleadings, letters and statements filed in connection therewith and the arguments of counsel at the July

 26, 2004 hearing; and it appearing that some counsel to asbestos tort claimants, including several of the

 members of the pre-petition committee, represent multiple creditors in this Chapter 11 case and have not

 filed statements required by Federal Rule of Bankruptcy Procedure 2019 promulgated under 28 U.S.C. §

 2075; and it appearing that certain of the Rule 2019 Statements filed to date may not meet the

 requirements of that Rule; and based on the Court's legal rulings at the conclusion of the July 26, 2004

 hearing; and upon service of a proposed form of this Order, under the Five-Day Rule, Local Bankruptcy

 Rule 9072-1(d), upon (i) the Master Service List, (ii) all parties filing opposition to the Motions, (iii) all

 counsel appearing at the July 26, 2004 hearing on the Motions, (iv) all members of the pre-petition

 committee, and (v) a list of counsel for asbestos tort claimants who filed master ballots herein, which list

 was furnished by the Debtors’ counsel to Travelers’ counsel on August 25 (“Asbestos Claimants Counsel

 List”)[, and consideration of objections thereto filed pursuant to the Five-Day Rule], IT IS HEREBY:

         ORDERED that, all counsel representing more than one creditor herein (including by having

 executed a ballot on the proposed plan of reorganization on behalf of more than one creditor) shall

 (whether or not such counsel has filed a notice of appearance herein) file a Rule 2019 Statement, within

 TEN (10) days after the entry of this Order on the electronic docket, fully complying with the




                                                                   Approved by Judge Kathryn C. Ferguson September 02, 2004
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 requirements of Rule 2019 except as hereby limited by subparagraph (c)(i) of the next ORDERED

 paragraph; and it is further

         ORDERED that, pursuant to Rule 2019 and this Order, such Rule 2019 Statement shall be sworn

 under the penalty of perjury and shall include:

         (a) a list of the names and addresses of all creditors (including creditors for whom the filing

 counsel is acting as co-counsel), and a general statement about the nature of their respective claims and

 when those claims arose;

         (b) a certification that counsel has the authority to vote for each claimant on whose behalf

 counsel executes a ballot on a proposed plan of reorganization, pursuant to (i) an executed separate

 bankruptcy-specific power of attorney or (ii) a bankruptcy specific power of attorney clause that is part

 of an executed retainer agreement or contract of representation, in either case authorizing the attorney to

 vote on behalf of the client in this bankruptcy proceeding;

         (c) attachment of the lesser of: (i) 25 executed bankruptcy-specific powers of attorney or other

 bankruptcy-specific authorizing instruments or (ii) all bankruptcy specific powers of attorney or other

 bankruptcy-specific authorizing instruments, executed by creditors in connection with this bankruptcy

 case on whose behalf the counsel votes, with, if necessary, the redaction of any attorney-client privileged

 information or other confidential information;

         (d) a list and a detailed explanation of any type of co-counsel, consultant or fee-sharing

 relationships and arrangements whatsoever, in connection with this bankruptcy case or claims against any

 of the Debtors, and attachment of copies of any documents that were signed in conjunction with creating

 that relationship or arrangement; and




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               Relief



           (e) for any member of the pre-petition committee, in their respective Rule 2019 Statement, such

 statement shall include the information required by Rule 2019 (including for the period prior to the filing

 of the petition herein) with respect to the committee, including as required by clauses (3) and (4) of

 Paragraph (a) of the Rule; and it is further

           ORDERED that, if any counsel required to file a Rule 2019 Statement does not timely file its

 Rule 2019 Statement in accordance with this Order or if a non-complying Statement is filed or if a

 presently filed Rule 2019 Statement is not supplemented to comply with this Order, the Debtor is

 directed to send the Disclosure Statement to the underlying claimants and allow the underlying claimants

 to vote on the proposed plan of reorganization under procedures to be determined by this Court;

           ORDERED that, Mr. Joseph F. Rice of Motley Rice LLC shall, within a reasonable time after

 the 10-day period provided for above, and at a mutually convenient time and place, appear for the

 continuance of his deposition herein, and Mr. Rice is instructed to answer all outstanding

 deposition questions on any type of co-counsel, consultant or fee-sharing relationship whatsoever, and

 such continued deposition shall not be covered by any discovery stay order the Court may issue in

 connection with the deferral of the scheduled confirmation hearing from September 9, 2004; and it is

 further

           ORDERED that, nothing in this Order is a ruling on whether any Rule 2019 Statement filed to

 date complies, or does not comply, with Rule 2019 or the legal effect of not filing a Rule 2019 Statement

 or filing a non-complying Rule 2019 Statement, and the Court maintains jurisdiction with respect to such

 matters and with respect to the interpretation and enforcement of this Order; and it is further




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         ORDERED that, counsel for Travelers shall serve this Order on (i) the Master Service List

 herein, (ii) all parties filing opposition to the Motions, (iii) all counsel appearing at the July 26, 2004

 hearing on the Motions, (iv) all members of the pre-petition committee, and (v) counsel on the Asbestos

 Claimants Counsel List, which service shall be effected by email, facsimile or regular mail, and that

 such service and posting of the Order on the electronic docket herein shall be good and sufficient service

 and notice hereof.




                                                                   Approved by Judge Kathryn C. Ferguson September 02, 2004
